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                       ABBREVIATIONS AND ACRONYMS


AC             asphaltic-concrete
AST            above-ground storage tank
COC            contaminants of concern
Cr(VI)         hexavalent chromium
CVRWQCB        Central Valley Regional Water Quality Control Board
DTSC           California Department of Toxic Substances Control
FYR            Five-Year Review
Geocon         Geocon Consultants, Inc.
GWETS          groundwater extraction and treatment system
               Imminent or Substantial Endangerment Determination Order and Remedial
I/SE Order
               Action
LFR            Levine-Fricke
μg/l           micrograms per liter
mg/kg          milligrams per kilogram
mg/L           milligram per liter
RAOs           removal action objectives
RAP            remedial action plan
RAW            removal action work plan
RCRA           Resource Conservation and Recovery Act of 1976
sq. yds.       square yards
URS            URS Corporation




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                                       EXECUTIVE SUMMARY

Geocon Consultants, Inc. (Geocon), prepared this Five-Year Review (FYR) Report for the former
Wickes Forest Industries property (the Site) located at 147 A Street in Elmira, California. The
approximately 7.5-acre Site is comprised of Solano County Assessor’s Parcel Numbers 142-010-
130, 142-010-140, and 142-042-010.

The FYR was performed for the California Department of Toxic Substances Control (DTSC). The
DTSC Site Code for this property is 100164 and the EnviroStor number is 48240001. This FYR Report
was prepared consistent with the Imminent or Substantial Endangerment Determination Order and
Remedial Action Order ([I/SE Order] Docket No. I/SE 10/11 – 008, dated March 16, 2011), issued by
the DTSC. Geocon visited the Site with the DTSC and the current property owner, Mr. David van Over,
on August 17, 2016, to observe and discuss site conditions.

The Site is a former wood treatment facility and the contaminants of concern (COCs) are arsenic and
hexavalent chromium [Cr(VI)]. Historical site operations included lumber treatment in retort vessels
using wood preservatives that contained arsenic, chromium, and copper. Previous investigations have
shown that site soil and groundwater have been impacted with these metals and that COC-impacted
groundwater has migrated offsite to the south and east. Site operations ceased in August 1982.

In 1983 and 1994, the Site was capped with asphaltic-concrete (AC) following remedial actions that removed
soil from the site and perimeter drainage ditches to address soil and groundwater contamination issues
associated with the southern portion of the property (1983) and the northern portion (1994). In 1983, a 200-
foot long by 13-foot deep groundwater extraction and treatment system (GWETS) was installed adjacent to
the former processing building in the southern portion of the site. The GWETS extracted groundwater then
removed metals from groundwater through an ion-exchange system. In 1992, seven extraction wells were
added to the GWETS, and the treatment system was replaced with a more effective, electrochemical
treatment system. Metals concentrations in shallow groundwater were significantly reduced by this treatment.
However, COC concentrations began to stabilize in 1998 and showed little change over the last 3 years of
treatment between 2002 and 2005. The GWETS was shut down in August 2005 due to the bankruptcy of the
responsible party. The GWETS was dismantled in 2011.

In April 2008, a soil investigation within and adjacent to the former processing facility building
concluded that the shallow soil in the northeastern and southwestern portions of the building were a
continuing source of arsenic and Cr(VI) to groundwater, particularly during periods of high groundwater
elevations.

A Removal Action Work Plan (RAW), prepared by URS Corporation (June 2010), addressed
remediation of the COC-impacted groundwater at the former process area of the Site. The remedial
alternative selected by the RAW was to remove the most heavily COC-impacted soil from the
contaminated area beneath the former chemical storage and wood treatment areas in the process facility
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building and from the area of a 25-ft diameter above-ground storage tank (AST) located adjacent to the
building. Removal of the soil from these areas would eliminate the likely source of groundwater
contamination. Removal Action Objectives (RAOs) established in the RAW included:

     • Protect existing and potential beneficial uses of groundwater to the extent technically and
       economically feasible by minimizing the migration of COCs to groundwater.
     • Minimize exposure of humans to COCs in shallow soil through inhalation, dermal absorption, and
       ingestion by eliminating complete exposure pathways.
     • Minimize potential for migration of COCs from the soil to groundwater by removing or treating
       the soil with arsenic concentrations above cleanup goals established in the RAW.
     • Obtain DTSC certification, after completion of the removal action, that the necessary
       response actions have been completed in accordance with the approved RAW and that the
       RAOs have been met.


The cleanup goals established in the RAW for arsenic and Cr(VI) in groundwater were 10 micrograms
per liter for both contaminants. Arsenic was chosen as the target contaminant for soil source removal
actions at the Site and the established cleanup goal for arsenic in soil was 13 milligrams per kilogram.

The remedial excavations resulted in the removal of approximately 515 tons of Resource Conservation
and Recovery Act of 1976 (RCRA)-hazardous concrete, 493 tons of RCRA-hazardous waste soil, and
1,066 tons of non-RCRA, California-hazardous waste soil.

The purpose of the FYR is to evaluate whether the 2011 soil removal action, AC cap, and groundwater
monitoring remain protective of human health and the environment. To assess whether the RAOs of the
soil removal action were successfully met, we prepared trend graphs using laboratory analytical results
for groundwater samples from wells located downgradient of the removal action area. A graph of Cr(VI)
and arsenic concentrations for each well from 2011 to 2016, including the tabulated data and best-fit
trend line is in Appendix A. A summary of the trend direction (increasing or decreasing concentration
over time) for Cr(VI) and arsenic for each well is presented in Table 1.

Of the 28 wells identified downgradient of the 2011 soil removal action area, eight wells have no or
insufficient data for both Cr(VI) and arsenic. Of the 20 other wells, at least 80% show decreasing trends
for both Cr(VI) and arsenic since the 2011 soil removal action was completed.

Inspection of the Site on August 17, 2016, identified cracks in the AC cap throughout the site. Weeds
were abundant along the edge of the AC cap, in areas of the Site where there was no AC pavement, and
where the weeds could grow in cracks in the AC cap. The perimeter drainage ditches, located outside of
the perimeter fence line, were choked with weeds that would likely interfere with and/or block surface
water flow leaving the site during rainfall events. The lack of maintenance of the AC cap and surface
drainage systems has created the potential for surface water to penetrate the AC cap and underlying
COC-impacted soil, resulting in possible renewed migration of COCs to shallow groundwater. Potential
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exposure pathways that could result in unacceptable risks are not being controlled through operation and
maintenance (O&M) of the Site. Therefore, the soil removal remedial action at the Site is only short
term protective of human health and the environment. Once the AC cap cracks are mitigated in
accordance with the I/SE Order (DTSC, 2011), surface drainages are cleared of weeds, and the AC cap
is being regularly maintained, it is expected that the Site will be protective of human health and the
environment in the long term.




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                               WICKES FOREST INDUSTRIES
                                       147 A STREET
                                   ELMIRA, CALIFORNIA
                 CONTRACT NO. 14-T3962, WORK ORDER NO. 1-962-1.0-100164
                   _____________________________________________________


                                     1.0      INTRODUCTION

This Five-Year Review (FYR) Report (report) covers the period from November 2011 through October
2016 for the Former Wickes Forest Industries Facility, in Elmira, California (Site; Figure 1). The FYR
Report has been prepared consistent with the Imminent or Substantial Endangerment Determination
Order and Remedial Action Order (Docket No. I/SE 10/11 – 008 [I/SE Order], dated March 16, 2011),
and the Agreement for Operation and Maintenance of the Groundwater Extraction and Treatment
System, Storm Water Control System, and the Asphalt Cap at the Former Wickes Forest Industries
Facility, Elmira, California (O&M Agreement, February 26, 1996), both issued by the California
Department of Toxic Substances Control (DTSC). This is the second FYR conducted for the Site; the first
FYR was completed on July 27, 2001.

1.1       Purpose

The purpose of this report is to comply with the requirements of the I/SE Order, O&M Agreement, and
to document our review of the soil removal remedial action completed in November 2011, the
asphaltic-concrete (AC) cap, and groundwater monitoring and reporting (the “remedy”) and to
determine if it remains protective of human health and the environment. The 2011 soil removal action
is reported in the Removal Action Completion Report Former Wickes Forest Industries, 147 A Street,
Elmira, California (Arcadis, 2012).

The purpose of a FYR is to evaluate the performance of a remedy in order to determine if it is and will
continue to be protective of human health and the environment. The methods, findings, and
conclusions of reviews are documented in FYR reports such as this one. In addition, FYR reports
identify issues found during the review, if any, and document recommendations to address them

1.2       Document Organization

This Five-Year Review report is organized as follows:

Section 1.0 – Introduction: Provides an introduction to the report and includes the purpose and
authority for conducting the FYR; identifies the lead agency (DTSC), the review number, and
summarizes the organization of the report.

Section 2.0 – Background and Chronology: Describes the site history, geology, and hydrogeology. A
summary of the findings of previous soil and groundwater investigations, is also included.


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Section 3.0 – Remedial Action: Summarizes the 2011 soil removal action.

Section 4.0 – Progress Since Last Review: Presents information on the AC cap constructed over the
site in 1983 and 1994, and groundwater monitoring and reporting.

Section 5.0 - FYR Process: Summarizes the components of the second FYR process, including
administrative and community components, and data and document review.

Section 6.0 – Technical Assessment: Evaluates the effectiveness of the implemented remedial action.

Section 7.0 – Issues: Summarizes issues identified during the FYR

Section 8.0 – Recommendations and Follow-Up Actions: Presents recommendations and follow-up
actions, if needed, to address issues identified during the review.

Section 9.0 – Protectiveness Statement: Provides a statement regarding the protectiveness of the site
remedies.

Section 10.0 - Next Review: Provides the date for when the next FYR is planned.

Section 11.0 - References: Lists all of the citations used throughout the report.

Appendices
Appendix A Groundwater Trend Analyses of Hexavalent Chromium and Arsenic 2011 to 2016

Appendix B        Public Notice Published August 16, 2016

Appendix C Site Photographs Dated August 17, 2016




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                                       2.0     BACKGROUND

This section summarizes current site conditions, site history, geologic and hydrogeological conditions,
previous investigations, and potential environmental and human impacts associated with the Site based
on information obtained from the references indicated herein.

The Site is a former wood-treatment facility, which the DTSC refers to as Wickes Forest Industries. Other
names by which the Site has been identified include: Collins & Aikman Products Company, Inc. (by the
Central Valley Regional Water Quality Control Board [CVRWQCB]) and Pacific Wood Preserving (by the
United States Environmental Protection Agency [EPA])

The Site comprises approximately 7.5 acres with a southern portion, including the former processing
facility building, and a northern portion, including the northern warehouse. It shares its northwestern
border with the Union Pacific Railroad right-of-way. A Street is located along the southeastern site
boundary and becomes Holdener Road at the southern site boundary (Figure 2).

2.1       Site History

The Site was used for agricultural purposes before it was developed as a wood preparation, treatment,
and storage facility in 1972. Pacific Wood Preserving Company operated a wood treatment facility at
the Site from 1972 to 1979. Wickes Forest Industries purchased the Site in September 1979 and
continued to operate the wood-treatment facility until August 1982 (URS 2010). Reportedly, no facility
operations have occurred at the Site since 1982. Process machinery and equipment including the four
cylindrical product tanks and the retort vessels were removed from the Site by 1991 (Levine-Fricke
[LFR], 2001).

Historical site operations included lumber treatment in retort vessels using wood preservatives that
contained arsenic, chromium, and copper. Previous investigations have concluded that site soil and
groundwater have been impacted with these metals and that COC-impacted groundwater has migrated
offsite to the south and east.

2.2       Geology and Hydrogeology

The Site is near the western edge of the southern Sacramento Valley, where it abuts the California
Coast Ranges. Alamo Creek flows east, approximately 2,000 feet south of the Site. Shallow soil
beneath the Site consists of 1 to 3 feet of engineered fill composed of silt, sand, and gravel, underlain
by silty clay. An AC cap, constructed in 1994, overlies the entire site. The Geologic Map of the
Sacramento Quadrangle (California Geological Survey, 1981) depicts the Site being underlain by
Quaternary alluvium.




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Groundwater occurs under semi-confined conditions and is first encountered at depths of 4 to 7 feet,
depending on seasonal fluctuation. Figure 3 is a groundwater elevation map of water levels from March
2016. Depth to static groundwater beneath the former wood treatment area has ranged from
approximately 1 to 6 feet. In other areas of the Site, depth to static groundwater fluctuates between 1
and 4 feet depending on precipitation, seasonal recharge, and groundwater pumping from nearby
irrigation wells. The prevailing groundwater flow direction beneath the Site is toward the southeast.
The groundwater flow velocity is estimated to be as high as 50 feet per year; however, migration of the
contaminants of concern (COCs – arsenic and hexavalent chromium Cr(VI) is much slower due to the
general affinity of metals to bind with soil particles. Because of its higher water solubility, the COC
Cr(VI) is more mobile than arsenic and, thus, has spread over a larger area.

2.3       Soil and Groundwater Investigation Chronology

The DTSC and CVRWQCB have actively overseen the site remediation since 1982. In September
1983, the DTSC and CVRWQCB approved a remedial action plan (RAP) that addressed soil and
groundwater contamination issues associated with the southern portion of the Site. A portion of the Site
was then capped with concrete. In February 1994, a second RAP was approved that addressed soil
contamination in the northern portion of the Site. During implementation of this RAP, the entire Site
was capped with asphalt and concrete. The AC cap varies in thickness

In 1983 and 1984, a groundwater extraction and treatment system (GWETS), consisting of a
13-foot-deep, 200-foot-long extraction trench and horizontal recovery well, was installed at the Site to
remediate COC-impacted groundwater. Groundwater was pumped to the surface and treated by an onsite,
ion-exchange treatment system. In 1992, seven additional vertical extraction wells were added to the
GWETS, and the ion-exchange treatment system was replaced with a more effective, electrochemical
treatment system. Metals concentrations in shallow groundwater have been significantly reduced by this
treatment. However, COC concentrations began to stabilize in 1998 and showed little change over the last 3
years of treatment between 2002 and 2005. The GWETS was shut down in August 2005 due to the
bankruptcy of the responsible party. The GWETS was dismantled in 2011.

In April 2008, URS Corporation (URS) conducted a soil investigation in the vicinity of former well
E-6 (Figure 2). URS concluded that the shallow soil in the northeastern and southwestern portions of
the building covering the former process area was a continuing source of arsenic and Cr(VI) to
groundwater, particularly during periods of high groundwater elevations (URS, 2008). A Removal
Action Workplan (RAW) was prepared to address soil and groundwater with COCs at concentrations
that exceeded established cleanup goals (URS, 2009b). Following approval, a soil removal action was
implemented in October 2011. The soil removal action required that wells E-6 and E-30 be destroyed.
Replacement wells E-6A, E-6B, and E-30A were installed in March 2012. Concentrations of arsenic




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and Cr(VI) in groundwater samples collected from source removal area wells E-6A and E-6B are less
than those reported for groundwater in the same area prior to implementation of the removal action.
Based on groundwater monitoring results, there are two plumes of Cr(VI)-impacted groundwater
beneath the Site (Figures 4 and 5). The highest detected concentrations (greater than 100 micrograms
per liter [µg/l]) are in groundwater beneath the southern portion of the Site and extend south beneath A
Street. The other area of Cr(VI)-impacted groundwater is beneath the northeastern portion of the Site
and extends south beneath Holdener Road, beyond the site boundaries. Cr(VI) concentrations are lower
in this plume, but this plume extends over a larger area than the southern plume (Geocon, 2016).




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                                     3.0      REMEDIAL ACTION

A Removal Action Work Plan (RAW), prepared by URS (2010), addressed the remediation of COC-
impacted groundwater at the former process area of the Site. The removal action focused on removal of
COC-impacted soil from the heavily contaminated area beneath the former chemical storage and wood
treatment areas to eliminate the source of groundwater contamination.

Removal Action Objectives (RAOs) established in the RAW included:

      • Protect existing and potential beneficial uses of groundwater to the extent technically and
        economically feasible by minimizing the migration of COCs to groundwater
      • Minimize exposure of humans to COCs in shallow soil through inhalation, dermal absorption,
        and ingestion by eliminating complete exposure pathways
      • Minimize potential for migration of COCs from the soil to groundwater by removing or treating
        the soil with arsenic concentrations above cleanup goals established in the RAW
      • Obtain DTSC certification, after completion of the removal action, that the necessary
        response actions have been completed in accordance with the approved RAW and that the
        RAOs have been met.


The cleanup goals established in the RAW for arsenic and Cr(VI) in groundwater were 10 micrograms
per liter (µg/l) for both contaminants. Site soil investigation results indicate that arsenic concentrations
in soil are approximately 100 times higher than Cr(VI). The two contaminants have similar distribution
patterns at the Site and similar toxicity. Therefore, arsenic was chosen as the target contaminant for
source removal actions at the Site and the established cleanup goal for arsenic in soil was 13
milligrams per kilogram (mg/kg).

The objective of the remedial alternative selected by the RAW was to remove the most heavily COC-
impacted soil within, and in the vicinity, of the former process building and from the area of a 25-ft
diameter above-ground storage tank (AST) located adjacent to the process facility building. The COC-
impacted soil was considered to be a potential source of groundwater contamination due to the shallow
depth (2 to 7 feet) of groundwater at the Site. The COCs targeted by the remedial activities at the Site
were arsenic, chromium, Cr(VI), and copper. Based on previous investigations, arsenic was found to be
closely associated with chromium and copper at the Site and was therefore, used as the target COC for
the removal action. Additional activities conducted as part of the removal action included removal and
disposal of the contents of the AST and the actual tank, the contents of the tanks associated with the
former GWETS, and repair of the gutter system of the former processing building roof.

The remedial excavations focused on the areas with the highest concentrations and resulted in the
removal of 515 tons of Resource Conservation and Recovery Act of 1976 (RCRA)-hazardous concrete,
493 tons of RCRA-hazardous waste soil, and 1,066 tons of non-RCRA, California-hazardous waste



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soil. The excavations were backfilled with clean fill soil. Replacement wells E-6A, E-6B, and E-30A
were installed in March 2012.

Concentrations of arsenic in building perimeter confirmation soil samples ranged from 10 to 2,700
mg/kg. Concentrations of chromium in the building perimeter confirmation soil samples ranged from
59 to 1,400 mg/kg. Cr(VI) was not detected at concentrations exceeding the laboratory reporting limit
in a majority of the soil samples. The maximum detected concentration of Cr(VI) in building perimeter
confirmation samples was 38 mg/kg.

Twenty confirmation soil samples were collected from the bottom of the excavations within the former
process building. The samples were collected from depths ranging from 2 to 5 feet and concentrations
of arsenic in these samples ranged from 6.3 to 420 mg/kg. Concentrations of total chromium for soil
samples from the same area ranged from 33 to 350 mg/kg. Cr(VI) was not detected at concentrations
exceeding the laboratory reporting limit in a majority of the soil samples. The maximum detected
concentration of Cr(VI) was 12 mg/kg.

Twelve perimeter confirmation soil samples were collected from the former AST area. Concentrations
of arsenic in these samples ranged from 10 to 29 mg/kg. Concentrations of chromium ranged from 40
to 140 mg/kg. Cr(VI) was not detected at concentrations exceeding the laboratory reporting limit in
eight of the twelve samples; the maximum concentration detected was 0.7 mg/kg.




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                                 4.0   PROGRESS SINCE LAST REVIEW

This section summarizes information regarding the ongoing groundwater monitoring and reporting, and
the status of the only remaining portion of the site remedy (the AC cap).

4.1       Ongoing Groundwater Monitoring and Reporting

The current monitoring network at the Site consists of 43 groundwater monitoring wells, three private
irrigation wells (RW, RH-A, and MP-2), and four non-operating groundwater extraction wells (EX,
EX-2, E-25, and E-34) (Figure 2). Twenty-two of the monitoring wells and two extraction wells are on
the Site. The others are in the immediate vicinity. Thirty-eight monitoring wells are 25 feet deep or
shallower and are considered “shallow zone” wells. Five monitoring wells have screen intervals
ranging in depth from 32 feet to 45.5 feet and are considered to be within the “intermediate zone,” and
four monitoring wells are screened at depths below 45 feet and are within the “deep zone.”

The objectives of the groundwater monitoring program are:

      • For the southern portion of the Site, monitor the effectiveness of the 2011 soil removal action in
        reducing contaminant mass, and to monitor migration of contaminants toward offsite irrigation
        wells and other potential downgradient receptors.
      • For the northern portion of the Site, ensure that the AC cap continues to be effective in reducing
        the migration of contaminants from soil to groundwater then toward offsite irrigation wells and
        other potential receptors.

Ten monitoring wells and five extraction wells that were no longer providing useful data were
decommissioned in August 2013 with DTSC concurrence (URS, 2013). Twelve of the decommissioned
wells were in the undeveloped lot northeast (cross-gradient) of the Site. Additionally, sometime prior to
2009, monitoring wells E-38 and E-39 (situated along the south side of B Street) were paved over with
asphalt by a neighboring property owner. URS searched for the monitoring well lids with a metal
detector in February 2014, but could not locate the wells (URS, 2014a).

Geocon has been conducting the groundwater monitoring and reporting at the Site since 4th Quarter 2015.
The most recent report is the First Quarter 2016 Groundwater Monitoring Report (Geocon, 2016). Results
presented in this report include Figure 3 (attached) that depicts groundwater elevation contours for the
shallow zone. Based on these contours, the shallow zone groundwater flow was toward the east-
southeast at an average gradient of approximately 0.003. The inferred flow direction and gradient are
similar to those of previous monitoring events. A flow direction and gradient rose diagram depicting
historical flow is included on Figure 3.




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Dissolved Cr(VI) was detected in groundwater samples collected from 23 of the 46 wells at
concentrations ranging from 1.0 to 820 µg/l (Figure 4). The highest Cr(VI) concentrations were
reported for groundwater samples collected from wells within or southeast (downgradient) of the
former wood processing area, where the soil removal action was completed in November 2011. The
shallow Cr(VI) plume with concentrations greater than the MCL of 10 µg/l is still present in the
residential area south of A Street. Cr(VI) was detected in the groundwater sample collected from
irrigation well RH-A at a concentration of 3.7 µg/l. Cr(VI) was not detected in the groundwater sample
collected from irrigation well MP-2.

We prepared graphs to evaluate trends in Cr(VI) and arsenic concentrations in groundwater, since the
2011 soil removal action, to assess whether the RAOs of the soil removal action have been successfully
met. We used laboratory analytical results for groundwater samples collected over the last 5 years
(2011 to 2016) from wells downgradient of the former processing building to prepare the graphs. We
added a trend line to each graph to depict the data trend (increasing, decreasing, or no trend) for each of
the selected monitoring wells. The graphs and trend lines were plotted using Microsoft Excel and its
linear trend line function that uses the method of least squares to find a line that best fits the data
points. Sample concentrations reported as less than the laboratory reporting limit (i.e., non-detect),
were plotted as one half of the laboratory reporting limit. The R-squared value shown on each graph is
an indication of how well the trend line fits the data—the closer to 1, the better the line fits the data.
The trend line can also be used to estimate future concentrations by projecting the line beyond the most
recent data point using the equation presented on each graph. Monitoring wells that were evaluated,
well depth, well screen information, and trend results are summarized in Table 1. The trend graphs for
Cr(VI) and arsenic are in Appendix A.

Of the 28 wells identified downgradient of the 2011 soil removal action area, eight wells have no or
insufficient data for both Cr(VI) and arsenic. The Cr(VI) concentration trends for 17 of the 20 other
wells are weakly decreasing and for three wells are increasing. Arsenic concentration trends for 16 of
the 20 wells are decreasing. The arsenic concentrations for four other wells are increasing in one well,
no trend (flat) for one well, and insufficient data for an arsenic trend for two.

In general, the majority of wells (at least 80%) located downgradient from the soil removal action area
show decreasing trends for both Cr(VI) and arsenic since the 2011 removal action was completed.

4.2       Asphaltic-Concrete Cap

The AC cap was constructed to provide a layer of impervious material that meets requirements for
structural integrity and minimizes surface water infiltration (LFR, 2001). The cap was designed to meet
the following objectives:

      •   Provide a physical barrier between surface water and the soil


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     •    Allow for future potential site use by heavy truck traffic
     •    Provide positive drainage to inlet structures and piping to redirect surface runoff
     •    To be low-maintenance to retain cap integrity
     •    Allow for on-site consolidation of affected off-site soil, by grading and stabilizing the soil as a
          part of sub-grade design.

The AC cap in the southern portion of the site consists of a 1 1/2 –inch-thick AC overlay that was
installed in 1994 (LFR, 2005) on existing pavement that was originally installed as part of a 1983
remedial action (LFR, 2001). Approximately 2,300 square yards (sq. yds.) of overlay pavement was
installed in the southern portion of the site. In the northern portion of the site, the AC cap was installed in
1994 and consists of 6-inch-thick traffic area pavement and 5-inch-thick non-traffic area pavement. The
total area of 6-inch-thick paving was approximately 3,500 sq. yds., and the 5-inch-thick paving totaled
approximately 19,350 sq. yds. Drainage improvements were constructed around the perimeter of the Site
to collect runoff from the capped areas and direct it to nearby drainage ditches located along the entire
Site perimeter.

An AC cap maintenance plan was included in the O&M Agreement (DTSC, 1996). The maintenance
plan included the following routine schedule:

      • Inspections: detailed visual inspection of cap paving and drainage features with repairs as needed
        (semiannual; April/October).
      • Repair of cracks and fractures: roll pavement to recompact, reseal by application of slurry (every
        2 to 3 years).
      • Resurface: cap to be periodically resurfaced with minimum 1.5-inch-thick overlay to ensure full
        pavement integrity.

Based on an evaluation of Cr(VI) concentrations in groundwater samples collected both before and after
the AC cap was installed, LFR (2005) concluded that “Concentrations of Cr(VI) dropped at an increased
rate following installation of the cap” and that “The cap appears to continue to be effective in preventing
further impacts to groundwater.” During LFR’s 2005 AC cap inspection, it was noted that the cap’s AC
surface had been maintained in the recent past; the sealing of seams and small cracks in the surface with
slurry sealant was evident.

The I/SE Order (DTSC, 2011), describes O&M requirements for the cap that are to be conducted by the
“Respondents” (site owners named in the document). Based on documents reviewed for this FYR, it is
apparent that the last O&M event for the AC cap was sometime before February 2005 (LFR’s AC cap
inspection date).




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                                 5.0   FIVE-YEAR REVIEW PROCESS

USEPA’s Comprehensive Five-Year Review Guidance (USEPA, revised 2004) outlines the FYR process
and the elements required. This section describes the review process and presents the data reviewed as
part of this FYR for the former Wickes Forest Industries Facility.

5.1       Administrative Components

Deena Stanley is the DTSC Project Manager for the Site and the FYR.

This second FYR consisted of the following general tasks:

      • Data and document review;
      • Site inspection;
      • Community notification; and
      • FYR report development


5.2       Public Notice

A public notice that the FYR was being conducted for the Site and that a final report will be made
available to the public was published in The Reporter, the local newspaper in Vacaville, California, on
August 16, 2016. A copy of the public notice is in Appendix B. The notice provided a contact
telephone number for Ms. Stanley and DTSC website address for interested parties seeking additional
information.

5.3       Data and Document Review

Data and documents reviewed for this second FYR included investigation and remediation reports,
monitoring data, confirmation reports, applicable soil and groundwater cleanup standards, and other
reports listed in Section 11.0 (References) and referenced herein. The DTSC website EnviroStor has
nearly all documents available in PDF format (DTSC, 2016).

5.4       Site Inspection

The site inspection was conducted on August 17, 2016. In attendance were Deena Stanley, Project
Manager for DTSC; David van Over, site owner; and Dan Easter, Senior Geologist with Geocon. The
purpose of the inspection was to observe site conditions to help in assessing the protectiveness of the
2011 remedy and AC cap. Weather conditions during the inspection were clear with temperatures in
the low 80s (degrees Fahrenheit). Site photographs taken during the inspection are provided in
Appendix C.



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We walked and observed the site perimeter fence, perimeter drainage ditches, the AC cap, the former
wood treatment process building and north warehouse building, and A Street and Holdener Road.
Cracks in the AC cap were observed throughout the site. Cracking seemed more abundant on the outer
approximately 10 feet of the AC cap where it transitions from the interior of the site to the perimeter
fence. This was especially notable along the eastern site boundary where cracks were spaced
approximately 6 to 12 inches apart and ranged in width from approximately ⅛ to ¾-inches (Photo No.
1). Cracks in the AC cap in the interior portions of the site were wider spaced than those in the
perimeter areas ranging from a few 10s of feet to 50 feet or more (Photo No. 2 and 3). A small portion
of the former process building floor space (comprised of soil backfill from the 2011 soil removal
action) was being used to store tools and equipment, (Photo No. 4). The southwestern corner of the Site
was observable through a cutout in the exterior wall of the old office space area of the former process
building. Photo No. 5 shows abundant weeds growing against the building and through/around
concrete slabs.

Weeds were abundant along the edge of the AC cap, in areas of the Site where there was no AC
pavement, and where the weeds could grow in cracks in the AC cap (Photo Nos. 1, 5, 6, 14, 15, and
16). The perimeter drainage ditches, located outside of the perimeter fence line, were choked with
weeds that would likely impede surface water flow from the site during rainfall events. One perimeter
ditch between the southern end of the former process building and southern boundary fence was clear
of weeds and obstructions (Photo No. 7).

A site interior surface drain inlet located south of the north warehouse building is shown in Photo No. 8.
The drain inlet frame and grate have settled resulting in cracks between the frame and the AC cap; a coal-
tar-based sealant had been applied to the cracks some time ago and additional settling had since occurred,
reopening the cracks. There were weeds in the area that had been recently cut down and left behind. South
of the surface drain inlet is a crack in the AC cap that is typical of the cracks in the interior portions of the
site. The crack shown in Photo No. 9 is up to ¾-inches wide and at least 15 feet long.

There are two portable buildings north of the north warehouse building on non-traffic rated AC
pavement (LFR, 1994). The buildings are on triple-axle trailers and measure approximately 12 feet
wide by 60 feet long. Leveling screw jacks are spaced on approximately 6-foot centers on the perimeter
of each building. The screw jacks are placed on an approximately 1 by 8-inch piece of wood
presumably to spread the building load over a larger area and protect the AC pavement from the screw
jack settling into the AC cap (Photo No. 10 and 11).

The areas outside and adjacent to the perimeter fence include drainage ditches, agricultural lands,
railroad tracks, A Street, and Holdener Road. The southeastern site boundary along A Street is shown
in Photo No. 12. The Site is located behind the large wall of oleander shrubs on the left side of the
photo. At the base of the shrubs is a weed-covered drainage ditch that drains northeast. The eastern and

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northwestern site boundaries are shown in Photo No. 13 and 14. There are shallow ditches along both
of these boundaries that appear to be sloped to drain north (eastern ditch) and northeast (northwestern
ditch). However, there are large amounts of weeds completely obscuring the ditches that would impede
flow. Photo No. 15 and 16 provide close-up views of the drainage ditches along the eastern and
northwestern site boundaries.




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                                 6.0    TECHNICAL ASSESSMENT

Consistent with USEPA guidance on FYRs (2001, revised 2004), this section evaluates the
effectiveness of the implemented remedial action by answering the listed questions.

Question A - Is the remedy functioning as intended by the decision document?

The 2011 soil removal action was successfully implemented and reported in the Removal Action
Completion Report (Arcadis, 2012). As described in Section 3.0, the removal action included the
removal of COC-impacted soil from within the former process facility building and nearby AST area.
Based on the groundwater monitoring data reviewed as part of this FYR, the remedy continues to be
protective of public health and the environment by minimizing the migration of COCs from the soil to
groundwater.

The AC cap over the Site was designed to be a physical barrier between surface water and COC-
impacted soil, and to provide positive drainage to surface inlet structures and piping to redirect surface
water runoff. However, a lack of maintenance of the AC cap and surface drainage systems by the site
owner has resulted in cracking of the asphalt and obstructed drainage systems. The cracks in the AC
cap could allow surface water to penetrate the AC cap and underlying COC-impacted soil, resulting in
renewed leaching and transport of COCs to shallow groundwater. The obstructed drainages can prevent
positive drainage of surface water runoff from the cap potentially resulting in runoff backing up onto
the AC cap and infiltrating the cracks and soil beneath, and contributing to transport of COCs to
groundwater. The AC cap and surface drainage systems in their current conditions are not functioning
as intended.

Question B - Are the exposure assumptions, toxicity data, cleanup levels and RAOs
used at the time of the remedy selection still valid?

The potential exposure pathways for humans to come into contact with COCs in shallow soil were
inhalation, dermal absorption, and ingestion. These potential pathways were eliminated by the removal
of COC-impacted soil and construction of the AC cap. Removal of the most heavily COC-impacted
soil, considered to be a potential source of groundwater contamination due to the shallow depth of
groundwater at the Site, also minimized the transport of COCs to groundwater—another key removal
action objective. These approaches are still considered to be valid as long as the cap is properly
maintained.




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Question C - Has any information come to light that could call into question the
protectiveness of the remedy?

Yes, the current condition of the AC cap and surface water drainages calls into question the
protectiveness of these components of the remedy. In their current state, the AC cap and drainages are
not providing the intended barrier between surface water and COC-impacted soil, and drainage of the
site is currently impeded, thereby increasing the likelihood of remobilization of COCs from soil to
shallow groundwater. The inaction of the site owner with regard to the O&M of the Site has created an
urgent need for sealing the cap and clearing the surface water drainages of weeds and other invasive
woody shrubs. This urgency is increased with the approaching rainy season. The exposure pathways
remain valid because the land use restrictions and site conditions have not changed since the AC cap
was constructed and the soil removal action was implemented. The lack of maintenance of the AC cap
and surface drainage systems are issues that need to be corrected as soon as possible because they are
not functioning as intended.




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                                            7.0      ISSUES

The RAOs established for the Site in the RAW (URS, 2010) include: “Protect existing and potential
beneficial uses of groundwater to the extent technically and economically feasible by minimizing the
migration of COCs to groundwater”. Objectives of the AC cap include: Provide a physical barrier
between surface water and the soil and Provide positive drainage to inlet structures and piping to
redirect surface runoff.

The lack of maintenance of the AC cap and surface drainage systems are issues that should be
corrected as soon as possible. Cracking of the AC cap has compromised its integrity and ability to
function as a barrier between surface water and the COC-impacted soil. Abundant weed growth
throughout the site perimeter, and to a lesser extent in the interior of the Site, has rendered the drainage
systems dysfunctional.




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                     8.0         RECOMMENDATIONS AND FOLLOW-UP ACTIONS

The AC cap must be maintained as outlined in the I/SE Order (DTSC, 2011) and O&M Agreement
(DTSC, 1996). For the AC cap to be effective in preventing further impacts to groundwater, the integrity
of the AC cap must be restored and the surface drainage systems and ditches cleared of weeds and
obstructions to function as designed.

Groundwater monitoring and reporting should continue on a semiannual basis.




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                                 9.0   PROTECTIVENESS STATEMENT

The soil removal action completed in 2011 has minimized impacts to groundwater by removing high
concentrations of COC-impacted soil resulting in reduced concentrations of COCs in groundwater.
Trend analyses on groundwater samples collected from wells downgradient from the soil removal
action show that at least 80% of the wells sampled show decreasing Cr(VI) and arsenic concentration
trends over the past five years. However, the lack of maintenance of the AC cap and surface drainage
systems has compromised the integrity of the cap and its ability to function as a barrier to exposure
pathways critical to protecting human health. Potential exposure pathways that could result in
unacceptable risks are not being controlled through O&M of the Site. Additionally, the potential is
greatly increased for surface water to penetrate the AC cap and underlying COC-impacted soil,
resulting in renewed leaching and transportation of COCs to shallow groundwater. Therefore, the
remedial action at the Site is only protective of human health and the environment in the short-term.
This determination was made based on the information received and evaluated in the performance of
this FYR.

Once the AC cap cracks are mitigated in accordance with I/SE Order (DTSC, 2011) and the O&M
Agreement (DTSC, 1996), surface drainages are cleared of weeds, and the AC cap is being regularly
maintained, it is expected that the remedy will be protective of human health and the environment as
designed.




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                                 10.0   NEXT FIVE-YEAR REVIEW

The next FYR for the former Wickes Forest Industries is due on November 30, 2021.




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                                             TABLE 1
                                SUMMARY OF TREND ANALYSES OF
                  HEXAVALENT CHROMIUM AND ARSENIC IN GROUNDWATER 2011 TO 2016
                                    WICKES FOREST INDUSTRIES
                                147 A STREET, ELMIRA, CALIFORNIA
                     CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                 Well Depth     Well Screen Interval
    Well ID      (feet bgs)          (feet bgs)             Hexavalent Chromium Trend   Arsenic Trend

      E-4             16                  6 to 16                  decreasing            decreasing
      E-5             16                  6 to 16                  decreasing            decreasing
     E-6A            15.5                 5 to 15                  decreasing             no trend
     E-6B            15.5                 5 to 15                  increasing            decreasing
      E-7             16                  6 to 16                  decreasing               NA
     E-15             19                  9 to 19                  decreasing            decreasing
     E-17             21                 11 to 21                     ND                    NA
  E-18/E-18A          22                 10 to 25                  decreasing            decreasing
     E-19             25                 10 to 25                  decreasing            decreasing
     E-20             25                 10 to 25                  decreasing            decreasing
     E-21             25                 10 to 25                 decreasing*            decreasing
     E-22             25                 10 to 25                  decreasing            decreasing
     E-23             25                 10 to 25                  decreasing            decreasing
     E-25             40                  5 to 35                 decreasing**           decreasing
     E-28            13.5                 3 to 13                  decreasing            increasing
     E-29             24                 16 to 21                     ND                    NA
    E-30A            15.5                 5 to 15                  decreasing            decreasing
     E-31             23               17.5 to 22.5                increasing                ---
     E-32             42                 32 to 42                  increasing            decreasing
     E-33             56                 52 to 56                     ND                     ---
     E-34             25              9.25 to 24.25                   ND                     ---
     E-35             59             46.25 to 56.25                    ---                  NA
     E-36             43                 38 to 43                  decreasing            decreasing
     E-37             55               49.5 to 54.5                    ---                   ---
     MP-1            NA                     NA                         ---                   ---
     MP-2            NA                     NA                     decreasing            decreasing
     RH-A            NA                     NA                     decreasing            decreasing
      RW             NA                     NA                         ---                   ---

 Notes:
 --- = No data/not sufficient data
 * Data used beginning 12/4/2012
 ** Data used beginning 6/12/2012
 bgs = below ground surface
 Cr(VI) = hexavalent chromium
 ND = Not detected
 NA = Not analyzed/not available
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l

        E-1                   10/28/1990                38                             <10
        E-1                    1/23/1991               <20                             <10
        E-1                     4/3/1991               <20                             <10
        E-1                    7/23/1991               <20                             <10
        E-1                7/23/1991 (dup)              10                             <5
        E-1                    1/21/1992               <10                             <5
        E-1                    7/21/1992               <10                             <5
        E-1                     1/5/1993                38                             <5
        E-1                    7/12/1993                26                             <5
        E-1                     4/5/1994                90                              3
        E-1                    11/3/1994               250                              3
        E-1                     4/5/1995               260                             <2
        E-1                     5/2/1996               420                             <2
        E-1                    5/21/1997               360                             <2
        E-1                    5/22/1998               230                             <5
        E-1                    4/29/1999               250                             <5
        E-1                    4/23/2000               200                             <5
        E-1                    4/30/2001               220                             <5
        E-1                    7/18/2001               160                             NA
        E-1                     5/1/2002               140                             <5
        E-1                 5/1/2002 (dup)             150                             <5
        E-1                    2/27/2003               110                             <5
        E-1                2/27/2003 (dup)             110                             <5
        E-1                    3/26/2007                62                             3.6
        E-1                    9/11/2007                58                            13 J
        E-1                    4/29/2009                44                            <1.9
        E-1                    11/6/2009                40                            7.9 J
        E-1                    4/22/2010              3.9 J                            <10
        E-1                   10/11/2010                27                            2.8 J
        E-1                     5/9/2011                30                             ND
        E-1                   10/24/2011                31                            9.1 J
        E-1                    6/13/2012                31                            3.3 J
        E-1                    12/4/2012                17                             <10
        E-1                    3/19/2013                28                            3.3 J
        E-1                     9/5/2013                30                             NA
        E-1                    3/19/2014                24                             NA
        E-1                    9/23/2014                22                             NA
        E-1                     3/5/2015                21                             NA
        E-1                    9/21/2015                13                             NA
        E-1                    3/28/2016               2.5                             NA
        E-2                   10/25/1990               <20                             <10
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-2                   1/23/1991               <20                         <10
        E-2                   11/7/2001               <10                          <5
        E-2                   4/26/2001                <1                          <5
        E-2                   4/29/2002                <1                          <5
        E-2                   8/20/2002                <1                          <3
        E-2                   2/24/2003               <10                          <1
        E-2                   8/28/2003               <10                           1
        E-2                   2/18/2004               <10                          <3
        E-2                   8/24/2004               <10                          <3
        E-2                   3/26/2007                <2                          3.6
        E-2                   9/11/2007                <2                          2.6
        E-2                   4/23/2008              1.7 J                         <2
        E-2                   11/5/2008               <10                        1.7 J
        E-2                   4/29/2009                <3                         <1.9
        E-2                   11/6/2009               <3.7                       5.0 J
        E-2                   4/22/2010               <10                        2.8 J
        E-2                  10/11/2010              5.5 J                        ND
        E-2                    5/9/2011               ND                          ND
        E-2                  10/24/2011              4.0 J                       5.5 J
        E-2                   6/13/2012               <10                        1.8 J
        E-2                   12/3/2012                2.9                       3.8 J
        E-2                   3/19/2013                2.0                       1.9 J
        E-2                    9/5/2013                6.3                        NA
        E-2                   3/19/2014               4.9                        0.93 J
        E-2                   9/23/2014               9.6                        0.97 J
        E-2                    3/5/2015               4.4                        0.96 J
        E-2                   9/22/2015               2.8                          2.0
        E-2                   3/28/2016               2.8                         <2.0
        E-2                3/28/2016 (dup)            3.1                         <2.0
        E-3                    2/7/1991               550                         <10
        E-3                   7/23/1992               430                          <5
        E-3                   7/14/1993               370                          <5
        E-3                   4/11/1994               310                          <2
        E-3                    4/7/1995               130                           2
        E-3                    5/3/1996               170                          <2
        E-3                   5/21/1997               130                           5
        E-3                   5/31/1997               130                           2
        E-3                   5/22/1998                90                          <5
        E-3                   4/29/1999                70                          <5
        E-3                   4/28/2000                40                          <5
        E-3                   4/30/2001                67                          <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-3                   7/18/2001                26                         NA
        E-3                    5/1/2002                29                          <5
        E-3                   2/26/2003                20                          1.1
        E-3                   2/23/2004                20                          <3
        E-3                   3/23/2006                11                          4.5
        E-3                   9/12/2007                5.8                         47
        E-3                   4/29/2009                6.6                        <1.9
        E-3                   11/6/2009                5.5                       5.0 J
        E-3                   4/21/2010                5.4                        <10
        E-3                  10/13/2010                10                         ND
        E-3                    5/9/2011                4.8                        ND
        E-3                  10/24/2011               4.0 J                      5.5 J
        E-3               10/24/2011 (dup)            4.0 J                      6.5 J
        E-3                   6/14/2012                <10                       3.0 J
        E-3               6/14/2012 (dup)              <10                       3.4 J
        E-3                   12/3/2012                1.4                       3.5 J
        E-3                   3/19/2013                1.4                       3.7 J
        E-3                    9/5/2013                1.9                        NA
        E-3                   3/19/2014                2.1                        NA
        E-3                    3/5/2015                2.3                        NA
        E-3                   3/28/2016               <1.0                        NA
        E-4                   4/17/1989                <10                        <10
        E-4                   7/21/1989                <10                        <10
        E-4                   1/10/1990                20                         <10
        E-4                  10/25/1990                <20                        <10
        E-4                   1/22/1991                <20                        <10
        E-4                   7/23/1991                <20                        <10
        E-4                  10/24/1991                <10                         <5
        E-4                   1/21/1992                <10                         <5
        E-4                   7/21/1992                <10                         <5
        E-4                    1/5/1993                <10                         <5
        E-4                    7/8/1993                <10                         <5
        E-4                    4/5/1994                <10                          6
        E-4                4/5/1994 (dup)              <10                          3
        E-4                   12/8/1994                 20                         <2
        E-4                    4/5/1995                 10                         <2
        E-4                   4/30/1996                <10                         <2
        E-4                   4/25/1997                <10                         <2
        E-4                   5/18/1998                <10                         <5
        E-4               5/18/1998 (dup)              <10                         <5
        E-4                   4/26/1999                <10                         <5
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-4                4/26/1999 (dup)            <10                          <5
        E-4                   4/25/2000               <10                          <5
        E-4                   4/24/2001               <10                          <5
        E-4                   4/23/2002               <10                          <5
        E-4                   2/20/2003               <10                          1.5
        E-4                   2/18/2004               <10                          <3
        E-4                   3/21/2007                3.9                         11
        E-4                   9/12/2007              1.3 J                         3.9
        E-4                   4/29/2009               <3.0                        <1.9
        E-4                   11/5/2009              5.4 J                       7.2 J
        E-4                   4/21/2010              6.6 J                        <10
        E-4                  10/11/2010              6.4 J                       4.2 J
        E-4                   5/10/2011                15                        2.6 J
        E-4                   12/5/2011              6.2 J                       3.7 J
        E-4                   6/11/2012              8.9 J                        <10
        E-4                   12/4/2012                12                         <10
        E-4                   3/19/2013                14                         <10
        E-4                    9/5/2013                11                         NA
        E-4                   3/17/2014                11                         NA
        E-4                   9/23/2014                6.8                        NA
        E-4                   3/12/2015                6.9                        NA
        E-4                   9/22/2015               3.2                         2.9
        E-4                   3/30/2016               3.8                         3.0
        E-5                   4/18/1989               590                         <10
        E-5                   7/21/1989               500                         <10
        E-5                   1/15/1990               500                         <10
        E-5                  10/31/1990               540                         <10
        E-5                    2/7/1991               590                         <10
        E-5                   4/10/1991               370                         <10
        E-5                    8/2/1991               600                         <10
        E-5                  10/29/1991               260                          <5
        E-5                   1/28/1992               610                          <5
        E-5                   1/23/1992               560                          <5
        E-5                   7/14/1993               550                          <5
        E-5                   4/11/1994               600                          <2
        E-5                    4/7/1995               280                           3
        E-5                    5/2/1996               200                          <2
        E-5                   5/21/1997                90                          <2
        E-5                   5/21/1998                60                          <5
        E-5                   4/29/1999                50                          6.1
        E-5                   4/28/2000                30                          <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                       (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-5                   4/26/2001                 18                          <5
        E-5                   4/30/2002                 10                          <5
        E-5                   2/20/2003                 20                          1.2
        E-5                   2/23/2004                 10                          <3
        E-5                   3/21/2007                 33                          5.5
        E-5                3/21/2007 (dup)              34                          6.7
        E-5                   9/12/2007                 33                          4.7
        E-5                9/12/2007 (dup)              34                          2.7
        E-5                   4/28/2009                 31                         <1.9
        E-5                   11/5/2009                 46                        6.3 J
        E-5                   4/23/2010                <10                       1.7 J B
        E-5                  10/11/2010                 47                         ND
        E-5                   5/10/2011                 37                         ND
        E-5                   12/5/2011                 30                        6.9 J
        E-5                    4/5/2012                 39                        4.3 J
        E-5                   6/11/2012                 40                         <10
        E-5                   8/28/2012                 33                         <10
        E-5                   12/3/2012                 39                         <10
        E-5                   3/19/2013                 35                         <10
        E-5                    9/5/2013                 33                         NA
        E-5                   3/17/2014                 28                         NA
        E-5                   9/22/2014                 25                          1.7
        E-5                   3/12/2015                 26                         NA
        E-5                   9/22/2015                 17                         <2.0
        E-5                9/22/2015 (dup)              16                          2.1
        E-5                   3/30/2016                 17                         <2.0
        E-6                   4/18/1989               10000                        NA
        E-6                   7/24/1989                8000                       1800
        E-6                   8/28/1989                3600                       2500
        E-6                  10/31/1990                3400                       1100
        E-6                   2/11/1991                4800                       1600
        E-6                   4/11/1991                3000                         81
        E-6                    8/2/1991                5000                        860
        E-6                  10/30/1991                3900                       1000
        E-6                   1/28/1992                6600                        160
        E-6                   7/23/1992                5800                        420
        E-6                   1/11/1993                5100                       1300
        E-6                   7/14/1993                7000                         <5
        E-6                   4/12/1994                6600                        350
        E-6                   11/9/1994                 NA                         370
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                    DISSOLVED
     WELL                                       CHROMIUM (CrVI)                       ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                              (µg/l)
                                                   MCL: 10 µg/l                      MCL: 10 µg/l
         E-6                 12/16/1994               5700                                 NA
         E-6                  4/10/1995               5000                                940
         E-6                 10/26/1995               4600                                630
         E-6                   5/3/1996               4500                                480
         E-6                 10/30/1996               6000                                360
         E-6                  5/21/1997               5700                                170
         E-6                  11/5/1997               4400                                 NA
         E-6                  5/22/1998               3400                                180
         E-6                 10/22/1998               1700                                150
         E-6                  3/11/1999               2800                                220
         E-6                 10/13/1999               3100                                110
         E-6                  4/28/2000               2800                                170
         E-6                  11/7/2000               3500                                 78
         E-6                  4/30/2001               2800                                 23
         E-6                  7/18/2001               3600                                 NA
         E-6                 10/10/2001               3800                                170
         E-6                   5/1/2002               2900                                160
         E-6                  2/27/2003               2200                                490
         E-6                  2/24/2004               3000                                300
         E-6                  3/27/2007                960                                990
         E-6                  9/12/2007               1700                                570
         E-6                  4/23/2008               1700                                670
         E-6                  12/3/2008               1100                                140
         E-6                  4/30/2009               1100                                550
         E-6               4/30/2009 (dup)            1900                                560
         E-6                  11/5/2009               2000                                880
         E-6                  2/10/2010               1500                                650
         E-6                  4/21/2010               1200                                670
         E-6               4/21/2010 (dup)            1100                                690
         E-6                 10/12/2010               1500                                500
         E-6                  2/22/2011                880                                650
         E-6                  5/10/2011                880                                800
         E-6                  9/10/2011                       Well Abandoned, Area Excavated
        E-6A                   4/5/2012                260                                 10
        E-6A                  6/14/2012                170                                 10
        E-6A               6/14/2012 (dup)             170                               9.7 J
        E-6A                  8/28/2012                100                                6.1 J
        E-6A                  12/4/2012                 83                                14 B
        E-6A               12/4/2012 (dup)              92                                13 B
        E-6A                  3/21/2013                 82                                13 B
        E-6A               3/21/2013 (dup)              82                                15 B
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-6A                   9/5/2013                 55                         14
        E-6A                  3/17/2014                 89                         13
        E-6A               3/17/2014 (dup)              98                         16
        E-6A                  9/23/2014                 88                         11
        E-6A               9/23/2014 (dup)              88                         9.3
        E-6A                  3/12/2015                100                         11
        E-6A               3/12/2015 (dup)             100                         10
        E-6A                  9/22/2015                 89                         13
        E-6A                  3/30/2016                 93                         8.0
        E-6B                   4/5/2012                750                        5.2 J
        E-6B                  6/14/2012                570                        4.9 J
        E-6B                  8/28/2012                320                        4.3 J
        E-6B                  12/4/2012                540                         <10
        E-6B                  3/21/2013                580                        5.8 B
        E-6B                   9/5/2013                640                        4.9 J
        E-6B                  3/17/2014                820                         1.5
        E-6B                  9/23/2014                710                         2.2
        E-6B                  3/12/2015                860                         1.6
        E-6B                  9/22/2015                690                         2.9
        E-6B                  3/30/2016                820                        <2.0
         E-7                  3/21/2007                 <2                          8
         E-7                  9/12/2007                 <2                         4.8
         E-7                  3/20/2014                 1.0                        NA
         E-7                  3/12/2015                0.98                        NA
         E-7                  3/30/2016                <1.0                        NA
        E-15                  4/17/1989                <20                         <10
        E-15                  7/20/1989                <20                         <10
        E-15                  1/10/1990                <20                         <10
        E-15                 10/23/1990                <20                         <10
        E-15                  1/22/1991                <20                         <10
        E-15                   4/2/1991                <20                         <10
        E-15                  7/23/1991                <20                         <10
        E-15                  1/20/1992                <20                         <10
        E-15                 10/23/1991                <10                         <5
        E-15                  4/24/2001                 3.5                        <5
        E-15                  4/23/2002                 2.9                        <5
        E-15                  8/21/2002                 3.2                        <3
        E-15                  2/25/2003                 1.7                        <1
        E-15                   9/3/2003                 2.1                        <1
        E-15                  2/23/2004                 1.5                        <3
        E-15                  8/24/2004                 1.4                        <3
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                     (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-15                 3/27/2007                  1.2                      1.3 J
        E-15                 9/12/2007                  <2                         <2
        E-15                 4/23/2008                1.8 J                        2.8
        E-15                 11/6/2008                 <10                         <5
        E-15                 4/30/2009                 <3.0                       <1.9
        E-15                 11/5/2009                 <3.7                      6.5 J
        E-15                 4/23/2010                 <10                        <10
        E-15                10/12/2010                7.5 J                       ND
        E-15                 5/10/2011                 ND                        3.4 J
        E-15                 12/5/2011                 <10                        <10
        E-15                 6/11/2012                 <10                        <10
        E-15                 12/6/2012                 0.58                       <10
        E-15                 3/21/2013                  1.7                      3.9 B
        E-15                  9/5/2013                2.5 B                       NA
        E-15                 3/18/2014                  1.0                       NA
        E-15                 9/24/2014                  2.3                       NA
        E-15                 3/13/2015                 0.72                       NA
        E-15                 3/30/2016                 <1.0                       NA
        E-16                 4/17/1989                 <20                        <10
        E-16                 7/21/1989                 <20                        <10
        E-16                 1/10/1990                 <20                        <10
        E-16                10/25/1990                 <20                        <10
        E-16                 1/22/1991                 <20                        <10
        E-16                  4/2/1991                 <20                        <10
        E-16                 7/23/1991                 <20                        <10
        E-16                10/24/1991                 <10                         <5
        E-16                 1/21/1992                 <10                         <5
        E-16                 7/22/1992                 <10                         <5
        E-16                  1/5/1993                 <10                         <5
        E-16                  7/7/1993                 <10                         <5
        E-16                  4/5/1994                 <10                          5
        E-16                 11/7/1994                 <10                         18
        E-16                  4/5/1995                 <10                         <2
        E-16                10/24/1995                 <10                         <2
        E-16                 4/30/1996                 <10                         <2
        E-16                10/29/1996                 <10                          4
        E-16                 4/25/1997                 <10                         <2
        E-16                10/21/1997                 <10                          4
        E-16                 5/18/1998                 <10                         <5
        E-16                10/21/1998                 <10                         14
        E-16                 4/26/1999                 <10                         <5
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                  DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        E-16                 10/11/1999               <10                             <5
        E-16                  4/24/2000               <10                             <5
        E-16                  11/6/2000               <10                             <5
        E-16                  4/24/2001                <1                             <5
        E-16                  10/9/2001               <2.5                            <5
        E-16                  4/23/2002                <1                             <5
        E-16                  2/20/2003               NA                               15
        E-16                  2/18/2004               <0.5                            <3
        E-16                  3/27/2007                <2                             4.1
        E-16                  9/12/2007                <2                            1.1 J
        E-16                  8/20/2013                           Well Abandoned
        E-17                  4/17/1989                <20                             <10
        E-17                  7/20/1989                <20                             <10
        E-17                  1/12/1990                <20                             <10
        E-17                 10/23/1990                <20                             <10
        E-17                  1/22/1991                <20                             <10
        E-17                   4/3/1991                <20                             <10
        E-17                  7/22/1991                <20                             <10
        E-17                 10/23/1991                <10                             <5
        E-17                  1/20/1992                 21                             <5
        E-17                  7/21/1992                <10                             <5
        E-17                   1/5/1993                <10                             <5
        E-17                   7/7/1993                <10                             <5
        E-17                   4/5/1994                <10                              3
        E-17                  11/7/1994                <10                             <2
        E-17                   4/4/1995                <10                             <2
        E-17                 10/25/1995                <10                              3
        E-17                  4/30/1996                <10                             <2
        E-17                 10/29/1996                <10                              4
        E-17              10/29/1996 (dup)             <10                              2
        E-17                  4/29/1997                <10                              2
        E-17                 10/21/1997                <10                              3
        E-17                  5/18/1998                <10                             <5
        E-17                 10/21/1998                <10                             8.2
        E-17                  4/26/1999                <10                             <5
        E-17                 10/12/1999                <10                             <5
        E-17                  4/25/2000                <10                             <5
        E-17                  11/6/2000                <10                             <5
        E-17                  4/24/2001                <10                             <5
        E-17                  10/9/2001                <2.5                            <5
        E-17                  4/23/2002                 <1                             <5
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-17                  8/20/2002                <1                          <3
        E-17                  3/22/2007                <2                           2
        E-17               3/22/2007 (dup)             <2                           2
        E-17                  9/12/2007                <2                          2.8
        E-17                  3/18/2014              <0.50                         NA
        E-17                  9/24/2014              <0.50                         NA
        E-17                  3/10/2015              <0.50                         NA
        E-17                  9/22/2015               <1.0                         NA
        E-17                  3/29/2016               <1.0                         NA
     E-18/E-18A               4/17/1989               <10                          <10
     E-18/E-18A               7/20/1989               <10                          <10
     E-18/E-18A               1/15/1990               <10                          <10
     E-18/E-18A              10/23/1990               <10                          <10
     E-18/E-18A               1/24/1991               <20                          <10
     E-18/E-18A                4/8/1991                30                          <10
     E-18/E-18A               7/24/1991                20                          <10
     E-18/E-18A              10/28/1991                49                          <5
     E-18/E-18A               1/22/1992                51                          <5
     E-18/E-18A               7/22/1992                55                          <5
     E-18/E-18A                1/6/1993                68                          <5
     E-18/E-18A               7/12/1993                77                          <5
     E-18/E-18A                4/6/1994                80                          <2
     E-18/E-18A               12/7/1994                90                          <2
     E-18/E-18A                4/6/1995               100                          <2
     E-18/E-18A               3/22/2007                71                          <2
     E-18/E-18A               9/12/2007                74                          <2
     E-18/E-18A               4/30/2009                60                         <1.9
     E-18/E-18A               11/6/2009               230                         4.6 J
     E-18/E-18A               4/22/2010                46                          <10
     E-18/E-18A              10/13/2010                52                          ND
     E-18/E-18A               5/11/2011                46                         3.7 J
     E-18/E-18A              10/26/2011                37                          <10
     E-18/E-18A               6/14/2012                25                          <10
     E-18/E-18A               12/6/2012                8.8                         <10
     E-18/E-18A               3/18/2013                22                         3.9 J
     E-18/E-18A                9/5/2013                26                          NA
     E-18/E-18A               3/18/2014                25                        0.55 J
     E-18/E-18A               9/24/2014                22                         <1.0
     E-18/E-18A               3/10/2015                21                         <1.0
     E-18/E-18A               9/22/2015                15                         <2.0
     E-18/E-18A               3/29/2016                19                         <2.0
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                      (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-19                 4/18/1989                 <20                         <10
        E-19                 1/12/1990                 <20                         <10
        E-19                10/25/1990                 <20                         <10
        E-19                 1/23/1991                 <20                         <10
        E-19                  4/3/1991                 <20                         <10
        E-19                 7/23/1991                 <20                         <10
        E-19                10/24/1991                 <10                         <5
        E-19                 1/21/1992                 <10                          <5
        E-19                 7/21/1992                 <10                          <5
        E-19                  1/5/1993                  11                          <5
        E-19                  7/8/1993                 <10                          <5
        E-19                  4/5/1994                 <10                          4
        E-19                 11/9/1994                 <10                          <2
        E-19                  4/7/1995                 <10                           3
        E-19                10/25/1995                 <10                           5
        E-19                 4/30/1996                 <10                           3
        E-19                10/29/1996                 <10                           4
        E-19                 4/25/1997                 <10                          <2
        E-19                10/21/1997                 <10                          <2
        E-19                 5/18/1998                 <10                           6
        E-19                10/21/1998                 <10                          <5
        E-19                 4/27/1999                 <10                          <5
        E-19                10/12/1999                 <10                          <5
        E-19                 4/25/2000                 <10                          <5
        E-19                 11/6/2000                 <10                          <5
        E-19                 4/24/2001                 <10                          <5
        E-19                 10/9/2001                 <10                          <5
        E-19                 4/23/2002                 <10                          <5
        E-19                 8/20/2002                  <1                          <3
        E-19                 2/20/2003                 <10                         1.4
        E-19                 8/28/2003                 <10                          <1
        E-19                 2/19/2004                 <10                          <3
        E-19                 8/24/2004                 <10                          <3
        E-19                 3/21/2007                  <2                         2.6
        E-19                 9/12/2007                  <2                        1.5 J
        E-19                 4/23/2008                0.76 J                       <2
        E-19                 11/7/2008                 <10                        1.6 J
        E-19                 4/30/2009                 <3.0                       1.9 J
        E-19                 11/5/2009                 <3.7                       7.3 J
        E-19                 4/23/2010                 <10                      2.4 J (B)
        E-19                10/12/2010                 ND                          ND
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-19                  5/10/2011               ND                           ND
        E-19                 10/25/2011               <10                         3.3 J
        E-19                  6/12/2012               <10                          <10
        E-19               6/12/2012 (dup)            <10                          <10
        E-19                  8/28/2012               <10                          <10
        E-19                  12/6/2012               <0.5                         <10
        E-19                  3/18/2013             0.086 J                       3.6 J
        E-19                   9/4/2013               <0.5                         NA
        E-19                  3/18/2014               <0.5                       0.99 J
        E-19                  9/24/2014               <0.5                       0.51 J
        E-19                  3/10/2015               <0.5                       0.91 J
        E-19                  9/22/2015               <1.0                        <2.0
        E-19                  3/29/2016               <1.0                        <2.0
        E-20                  4/17/1989               560                          <10
        E-20                  7/21/1989               440                          <10
        E-20                  1/15/1990               280                          <10
        E-20                 10/30/1990               480                          <10
        E-20                   2/6/1991               440                          <10
        E-20                  4/10/1991               210                          <10
        E-20                  7/25/1991               160                          <10
        E-20                 10/29/1991               210                          <5
        E-20                  1/28/1992                90                          <5
        E-20                  7/23/1992               120                          <5
        E-20                  1/11/1993                76                          <5
        E-20                  7/13/1993                58                          <5
        E-20                  4/11/1994                10                          <2
        E-20                  11/9/1994                50                          <2
        E-20                   4/7/1995                20                          <2
        E-20                   5/1/1996                20                          <2
        E-20                  4/29/1997               <10                          <2
        E-20                  5/20/1998               <10                          <5
        E-20                  4/28/1999               <10                          <5
        E-20                  4/26/2000               <10                          <5
        E-20                  4/26/2001                17                          <5
        E-20                  4/29/2002                22                          <5
        E-20                  8/21/2002                30                          <3
        E-20                  2/26/2003                30                          <5
        E-20                   9/3/2003                40                          <1
        E-20                  2/24/2004                20                          <3
        E-20                  8/24/2004                20                          <3
        E-20                  3/21/2007                17                          <2
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                       (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-20                  9/11/2007                 19                        7.6 J
        E-20                  4/23/2008                 20                          <2
        E-20                  11/5/2008                 26                          <5
        E-20                  4/30/2009                 26                         <1.9
        E-20                  11/6/2009                30                         6.2 J
        E-20                  2/10/2010                37                         3.3 J
        E-20                  4/23/2010                36                          <10
        E-20                 10/12/2010                40                          ND
        E-20                  2/22/2011                47                          <10
        E-20                  5/11/2011                40                         3.2 J
        E-20                  8/23/2011                37                         2.6 J
        E-20                 10/25/2011                37                         3.5 J
        E-20                   4/5/2012                46                        3.2 JB
        E-20                 6/12/2012                 43                          <10
        E-20                  8/28/2012                33                          <10
        E-20                 12/4/2012                 37                          <10
        E-20                 3/18/2013                 39                         4.1 J
        E-20                   9/4/2013                42                          NA
        E-20                  3/17/2014                 42                         <1.0
        E-20                  6/12/2014                 35                         <1.0
        E-20                  9/22/2014                 54                       0.57 J
        E-20                 12/22/2014                 38                         <1.0
        E-20              12/22/2014 (dup)              35                         <1.0
        E-20                  3/10/2015                 32                       0.53 J
        E-20                   6/3/2015                 30                         <1.0
        E-20               6/3/2015 (dup)               29                         <1.0
        E-20                  9/22/2015               <1.0                         NA
        E-20                  12/9/2015                4.8                         NA
        E-20                  3/29/2016                24                          NA
        E-21                  4/18/1989               1800                         <10
        E-21                  7/21/1989               2100                         <10
        E-21                  1/15/1990               1300                         <10
        E-21                 10/31/1990               <20                          <10
        E-21                   2/7/1991               1200                         <10
        E-21                  4/10/1991                400                          21
        E-21                   8/2/1991                900                         <10
        E-21                 10/29/1991                270                          <5
        E-21                  1/28/1992                960                          <5
        E-21                  7/23/1992                290                          <5
        E-21                  1/11/1993                 27                          <5
        E-21              1/11/1993 (dup)               26                          <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                       (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-21                 7/14/1993                  48                          <5
        E-21                 4/12/1994                  70                          <2
        E-21              4/12/1994 (dup)               60                          <2
        E-21                 12/9/1994                  70                           3
        E-21                 4/10/1995                  50                          <2
        E-21                  5/1/1996                  <10                         <2
        E-21                 4/29/1997                  <10                         <2
        E-21                 5/20/1998                  <10                         <5
        E-21                 5/21/1998                  <10                         <5
        E-21                 4/28/1999                  10                          <5
        E-21                 4/27/2000                   10                         <5
        E-21                  4/23/2001                 <10                         <5
        E-21                  4/29/2002                 2.7                         <5
        E-21                  2/24/2003                 <10                         13
        E-21                  2/23/2004                 <10                         <3
        E-21                  3/21/2007                 <2                          2.7
        E-21                  9/11/2007                 <2                          2.1
        E-21                  4/30/2009                  22                       2.7 J
        E-21                  11/6/2009                <3.7                       9.4 J
        E-21                  4/23/2010                 <10                      4.5 JB
        E-21                 10/12/2010                 ND                        4.7 J
        E-21                  5/11/2011                5.1 J                       4.9 J
        E-21                  8/23/2011                 <10                       3.9 J
        E-21                 10/25/2011                 <10                       5.5 J
        E-21                   4/5/2012                 <10                      6.4 JB
        E-21                  6/12/2012                  12                        <10
        E-21                  8/28/2012                  15                       2.9 J
        E-21                  12/4/2012                  48                      1.8 JB
        E-21                  3/18/2013                  77                       3.8 J
        E-21                   9/4/2013               120 B                      2.2 JB
        E-21                 12/26/2013                 130                      0.98 J
        E-21              12/26/2013 (dup)              130                      0.99 J
        E-21                  3/17/2014                  98                      0.89 J
        E-21                  6/12/2014                  91                      0.74 J
        E-21                  9/22/2014                 100                        0.89
        E-21                 12/22/2014                 120                         1.8
        E-21                  3/10/2015                 88                          1.5
        E-21                   6/3/2015                 90                          1.1
        E-21                  9/22/2015                 5.9                         4.1
        E-21                  12/9/2015                 3.8                         6.0
        E-21                  3/29/2016                <1.0                         3.0
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                     (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-22                 4/17/1989                  <10                       <10
        E-22                 7/21/1989                  <10                       <10
        E-22                 1/15/1990                  140                       <10
        E-22                10/29/1990                   82                       <10
        E-22                 1/24/1991                   91                       <10
        E-22                  4/9/1991                  <20                       <10
        E-22                 7/25/1991                   50                       <10
        E-22                10/28/1991                   76                        <5
        E-22                 1/23/1992                   59                        <5
        E-22                 7/22/1992                   23                        <5
        E-22                 7/13/1993                   50                        <5
        E-22                  4/7/1994                   50                         3
        E-22                  4/6/1995                   30                        <2
        E-22                  5/1/1996                   20                        <2
        E-22                 5/20/1997                  <10                        <2
        E-22                 5/20/1998                  <10                       <.5
        E-22                 4/28/1999                   10                       <.5
        E-22                 4/27/2000                  <10                       <.5
        E-22                 4/26/2001                  <10                       <.5
        E-22                 4/29/2002                  <10                       <.5
        E-22                 2/24/2003                  <10                        <1
        E-22                 2/18/2004                  <10                        <3
        E-22                 3/21/2007                  <2                         3.9
        E-22                 9/11/2007                  6.4                        8.6
        E-22                 4/30/2009                   21                      2.5 J
        E-22                 11/6/2009                 7.5 J                     3.6 J
        E-22                 4/22/2010                 7.2 J                     2.0 J
        E-22                10/12/2010                   15                       ND
        E-22                 2/22/2011                   47                       <10
        E-22                 5/11/2011                   10                      2.8 J
        E-22                10/25/2011                 8.8 J                     3.7 J
        E-22                 6/12/2012                  <10                       <10
        E-22                 8/28/2012                  <10                      1.9 J
        E-22                 12/4/2012                0.34 J                      <10
        E-22                 3/18/2013                  3.9                      4.4 J
        E-22                  9/4/2013                 0.75                       NA
        E-22                 3/17/2014                  3.7                        1.4
        E-22                 9/22/2014                  1.9                        2.0
        E-22                 3/10/2015                  2.4                        1.4
        E-22                 9/22/2015                  4.7                       <2.0
        E-22                 3/29/2016                  1.0                       <2.0
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                       (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-23                  4/18/1989               2900                         <10
        E-23                  7/21/1989               3100                         <10
        E-23                  1/15/1990               2100                         <10
        E-23                 10/31/1990               2100                         <10
        E-23                   2/7/1991               2200                         <10
        E-23                  4/11/1991                350                         <10
        E-23                   8/2/1991               1800                         <10
        E-23                  1/28/1992               1400                          <5
        E-23                 10/30/1991               1500                          <5
        E-23                  3/21/2007                 43                          2.3
        E-23                  9/12/2007                 32                          4.9
        E-23                  11/6/2008                 94                          <5
        E-23                  4/30/2009                 60                         <1.9
        E-23                  11/6/2009                130                         <1.5
        E-23                  2/10/2010                 51                        2.7 J
        E-23                  4/23/2010                 30                       1.9 J B
        E-23                 10/12/2010                 87                         ND
        E-23                  2/22/2011                 23                         <10
        E-23                  5/10/2011                 41                        5.0 J
        E-23                  8/23/2011                 36                         <10
        E-23                 10/25/2011                 40                        4.2 J
        E-23                   4/5/2012                 25                        2.1 J
        E-23                  6/14/2012                 33                         <10
        E-23                  8/28/2012                 62                         <10
        E-23                  12/4/2012                 23                         <10
        E-23                  3/19/2013                 27                        3.9 J
        E-23                   9/4/2013                 36                         NA
        E-23                  3/18/2014                 14                          1.4
        E-23                  6/12/2014                 15                          1.1
        E-23               6/12/2014 (dup)              16                           1
        E-23                  9/23/2014                 32                          1.0
        E-23                 12/22/2014                 13                          1.5
        E-23                  3/12/2015                 12                          1.2
        E-23                   6/3/2015                 11                          1.4
        E-23                  9/22/2015                 25                         <2.0
        E-23                  3/30/2016                6.0                         <2.0
        E-24                  1/10/1990               <20                          <10
        E-24                 10/23/1990               <20                          <10
        E-24                  1/22/1991               <20                          <10
        E-25                  4/18/1989                180                         <10
        E-25                  7/24/1989                200                         <10
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                      (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-25                 1/15/1990                  200                        <10
        E-25                10/30/1990                  100                        <10
        E-25                  2/6/1991                  240                        <10
        E-25                10/23/1991                   19                         <5
        E-25                 1/21/1992                  <10                         <5
        E-25                  1/7/1993                   92                         <5
        E-25                  7/7/1993                   20                         <5
        E-25                 4/11/1994                   30                         <2
        E-25                 11/8/1994                   30                         <2
        E-25                  4/7/1995                   30                         <2
        E-25                10/26/1995                   30                         <2
        E-25                  5/1/1996                   20                         <2
        E-25                 4/23/1997                   20                         <2
        E-25                10/23/1997                   20                          2
        E-25                 5/15/1998                   20                         <5
        E-25                10/22/1998                   11                         <5
        E-25                 4/28/1999                   30                         <5
        E-25                 4/26/2000                   10                         <5
        E-25                 11/7/2000                   23                         <5
        E-25                 4/26/2001                   13                         <5
        E-25                10/10/2001                   31                         <5
        E-25                 4/30/2002                   13                         <5
        E-25                 8/21/2002                   90                         <3
        E-25                 2/26/2003                   20                         <5
        E-25                  9/2/2003                   10                         <1
        E-25                 2/23/2004                   10                         <3
        E-25                 8/25/2004                   10                         <3
        E-25                 3/27/2007                  3.5                         1.3
        E-25                 9/13/2007                  3.1                         <2
        E-25                 4/24/2008                  3.8                         <3
        E-25                 11/7/2008                 3.5 J                        <5
        E-25                 4/30/2009                 3.4 J                       <1.9
        E-25                 11/5/2009                 <3.7                       7.9 J
        E-25                 4/23/2010                  <10                        <10
        E-25                10/13/2010                  ND                         ND
        E-25                 5/11/2011                  ND                        4.5 J
        E-25                 12/5/2011                  <10                        <10
        E-25                 6/12/2012                 7.3 J                       <10
        E-25                 12/6/2012                 0.77                      2.8 J B
        E-25                 3/21/2013                   11                       6.0 B
        E-25                  9/6/2013                   13                        NA
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                  DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        E-25                 12/26/2013                 14                           0.75 J
        E-25                  3/18/2014                 7.7                            1.1
        E-25                  6/12/2014                 13                           0.60 J
        E-25                  9/23/2014                 11                           0.62 J
        E-25                 12/22/2014                 9.8                            1.4
        E-25                  3/12/2015                 8.0                          0.52 J
        E-25                   6/3/2015                10.0                           <1.0
        E-25                  9/22/2015                 6.7                           <2.0
        E-25               9/22/2015 (dup)              7.9                           <2.0
        E-25                  3/29/2016                <1.0                            2.9
        E-25               3/29/2016 (dup)              1.4                            2.8
        E-26                  7/21/1989                <10                             <10
        E-26                  1/12/1990                <10                             <10
        E-26                 10/29/1990                 38                             <10
        E-26                  1/22/1991                <20                             <10
        E-26                 10/23/1991                 19                             <5
        E-26                  1/21/1992                <10                             <5
        E-26                  3/23/2007                 31                            1.4 J
        E-26                  9/12/2007                 24                            5.4 J
        E-26                  8/20/2013                           Well Abandoned
        E-27                  7/21/1989                 90                             <10
        E-27                  1/12/1990                180                             <10
        E-27                 10/30/1990                300                             <10
        E-27                   2/6/1991                280                             <10
        E-27                  3/27/2007                 32                             1 J
        E-27                  9/13/2007                2.4                             1 J
        E-27                  4/28/2009                 10                            <1.9
        E-27               4/28/2009 (dup)              10                            <1.9
        E-27                  11/5/2009               <3.7                            8.5 J
        E-27                  4/21/2010                 27                            3.2 J
        E-27               4/21/2010 (dup)              30                             <10
        E-27                 10/12/2010               9.1 J                            ND
        E-27                  5/10/2011                 26                            3.0 J
        E-27                  8/20/2013                           Well Abandoned
        E-28                  3/21/2007                 20                             290
        E-28                  9/12/2007                200                             200
        E-28                  4/23/2008                180                             540
        E-28                  11/5/2008                 42                             150
        E-28                  4/28/2009                250                             110
        E-28                  11/6/2009                 20                             170
        E-28                  2/10/2010                14                              190
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-28                  4/21/2010               <10                          180
        E-28                  10/11/2010               86                          130
        E-28                   2/22/2011               30                           67
        E-28                   5/10/2011               84                           96
        E-28                   8/23/2011              220                           99
        E-28                   12/5/2011              170                           89
        E-28               12/5/2011 (dup)            180                           90
        E-28                    4/5/2012               39                          110
        E-28                  6/11/2012                41                          120
        E-28                   8/28/2012              150                           98
        E-28               8/28/2012 (dup)            160                           96
        E-28                  12/3/2012               200                          130
        E-28               12/3/2012 (dup)            200                          120
        E-28                  3/21/2013                31                         81 B
        E-28               3/21/2013 (dup)             30                         85 B
        E-28                   9/5/2013               150                           86
        E-28                9/5/2013 (dup)            150                          100
        E-28                  3/18/2014                83                          120
        E-28               3/18/2014 (dup)             81                          120
        E-28                  9/22/2014               210                           99
        E-28               9/22/2014 (dup)            220                           98
        E-28                  3/12/2015                13                           96
        E-28               3/12/2015 (dup)             13                           91
        E-28                   9/22/2015               77                          130
        E-28                   3/30/2016               26                          130
        E-29                   9/24/2014             <0.50                         NA
        E-29                   3/10/2015             <0.50                         NA
        E-29                   9/22/2015              <1.0                         NA
        E-29                   3/29/2016              <1.0                         NA
        E-30                  3/27/2007               170                           11
        E-30                  9/12/2007               400                           14
        E-30                  4/23/2008               400                           15
        E-30                   11/6/2008              530                          8.6
        E-30                   4/28/2009              210                         6.0 J
        E-30               4/28/2009 (dup)            200                         6.7 J
        E-30                  11/5/2009               250                           13
        E-30                  2/10/2010                93                           12
        E-30                  4/21/2010               310                         7.6 J
        E-30                  10/12/2010             1100                           13
        E-30                   2/22/2011              200                           11
        E-30                   5/10/2011              380                           10
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                  DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        E-30                   8/23/2011              1100                           9.9 J
        E-30                   9/10/2011                          Well Abandoned
       E-30A                    4/5/2012               230                            4.3 J
       E-30A               4/5/2012 (dup)              260                            3.7 J
       E-30A                   6/11/2012               840                            3.6 J
       E-30A                   8/28/2012              1,100                           6.6 J
       E-30A                   12/6/2012               510                           6.2 JB
       E-30A               12/6/2012 (dup)             480                            3.8 J
       E-30A                   3/21/2013               320                           6.3 B
       E-30A                    9/5/2013               590                            4.2 J
       E-30A                   3/18/2014               380                             3.0
       E-30A                   9/23/2014               370                             3.1
       E-30A                   3/13/2015               240                             3.5
       E-30A                   9/22/2015               560                             5.6
       E-30A                   3/30/2016               260                             3.9
        E-31                   7/20/1989               380                             <10
        E-31                   1/11/1990               260                             <10
        E-31                  10/30/1990               190                             <10
        E-31                    2/6/1991               150                             <10
        E-31                  10/29/1991               160                             <5
        E-31                   1/23/1992               140                             <5
        E-31                   3/22/2007                12                             2.3
        E-31                   9/11/2007               <2                               4
        E-31                   11/7/2008               <10                             6.5
        E-31                   3/17/2014               9.8                             NA
        E-31                   3/10/2015              <0.50                            NA
        E-31                   3/24/2014              <0.50                            NA
        E-31                   9/22/2015               NA                              3.3
        E-31                   3/29/2016                11                            <2.0
        E-32                   7/20/1989               430                             <10
        E-32               7/20/1989 (dup)             440                             <10
        E-32                   1/10/1990               210                             <10
        E-32                  10/30/1990               130                             <10
        E-32                    2/5/1991               100                             <10
        E-32                2/5/1991 (dup)             120                             <10
        E-32                    4/9/1991                70                             <10
        E-32                4/9/1991 (dup)              80                             17
        E-32                   7/24/1991                50                             <10
        E-32                  10/29/1991               180                             <5
        E-32                   1/23/1992                79                             <5
        E-32                   7/22/1992                44                             <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                       (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-32                   1/7/1993                23                           <5
        E-32                  7/13/1993                18                           8.4
        E-32                   4/7/1994                20                            5
        E-32                  4/26/2001                <10                          <5
        E-32               4/26/2001 (dup)             <10                          <5
        E-32                  10/9/2001                2.6                          <5
        E-32                   5/1/2002                4.6                          6.4
        E-32                  2/25/2003                NA                           3.4
        E-32                  2/18/2004                2.6                          <3
        E-32                  3/22/2007                 5                           <2
        E-32               3/22/2007 (dup)             5.1                          <2
        E-32                  9/11/2007                5.4                        .67 J
        E-32               9/11/2007 (dup)             5.3                       0.051 J
        E-32                  4/23/2008                37                           <2
        E-32                4/23/08 (dup)              37                           <2
        E-32                  4/30/2009                57                          <1.9
        E-32                  11/6/2009               <3.7                        6.3 J
        E-32                  4/23/2010                <10                      4.1 J (B)
        E-32                 10/12/2010               4.1 J                       3.5 J
        E-32                  5/11/2011                50                         3.2 J
        E-32                 10/25/2011                26                         4.9 J
        E-32                  6/12/2012                <10                         <10
        E-32                  12/4/2012                5.1                         <10
        E-32                  3/18/2013                1.7                        4.5 J
        E-32                   9/4/2013                7.7                         NA
        E-32                  3/17/2014                15                           1.8
        E-32                  9/22/2014                12                         0.87 J
        E-32                  3/12/2015                24                           1.3
        E-32                  9/22/2015               <1.0                          3.4
        E-32                  3/29/2016                15                          <2.0
        E-33                  1/11/1990                <20                         <10
        E-33                 10/23/1990                <20                         <10
        E-33              10/23/1990 (dup)             <20                         <10
        E-33                  1/22/1991                <20                         <10
        E-33                   4/2/1991                <20                         <10
        E-33                  7/22/1991                <20                         <10
        E-33                 10/23/1991                <10                          <5
        E-33                  1/20/1992                <10                          <5
        E-33                  7/20/1992                <10                          <5
        E-33                   1/5/1993                54                           <5
        E-33                   7/7/1993                <10                          <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-33                   4/5/1994               <10                           4
        E-33                  11/8/1994               <10                          <2
        E-33                   4/5/1995               <10                          <2
        E-33                 10/25/1995               <10                           4
        E-33                  4/30/1996               <10                          <2
        E-33                 10/29/1996               <10                          <2
        E-33                  4/23/1997               <10                           2
        E-33                 10/21/1997               <10                           3
        E-33                  5/18/1998               <10                          <5
        E-33                 10/21/1998               <10                          <5
        E-33                  4/26/1999               <10                          <5
        E-33                  4/30/2009                57                         <1.9
        E-33                 10/11/1999               <10                          <5
        E-33                  4/25/2000               <10                          <5
        E-33                  11/6/2000               <10                          <5
        E-33                  4/23/2001                1.6                        NA
        E-33                 10/10/2001               <2.5                         <5
        E-33                  4/23/2002                <1                          <5
        E-33                  2/20/2003               NA                           <1
        E-33                  2/17/2004               <0.5                        <0.5
        E-33                  3/21/2007                <2                          <2
        E-33                  9/11/2007                <2                        1.3 J
        E-33                  3/17/2014              <0.50                        NA
        E-33                  9/24/2014              <0.50                        NA
        E-33                  3/24/2015              <0.50                         3.0
        E-33                  9/22/2015              <0.50                        <2.0
        E-33                  3/29/2016               <1.0                        <2.0
        E-34                  1/12/1990              3800                         <10
        E-34               1/12/1990 (dup)           3800                         <10
        E-34                  2/11/1991              2500                         <10
        E-34                  4/11/1991               260                         <10
        E-34                   8/2/1991              2300                         <10
        E-34                 10/30/1991              2100                          <5
        E-34                  1/28/1992              2500                          <5
        E-34                  7/23/1992              2200                          <5
        E-34                  1/11/1993               540                          <5
        E-34               1/11/1993 (dup)            540                          <5
        E-34                  7/14/1993               350                          <5
        E-34                  4/12/1994               240                          <2
        E-34                  11/9/1994               NA                           <2
        E-34                 12/30/1994               140                          <2
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-34                   4/7/1995                230                        <2
        E-34                 10/26/1995                140                        <2
        E-34                   5/2/1996                140                        <2
        E-34                 10/30/1996                120                        <2
        E-34                  4/23/1997                100                        <2
        E-34                 10/23/1997                 80                        <2
        E-34                  5/21/1998                100                        <5
        E-34                 10/22/1998                110                         <5
        E-34                  4/28/1999                 90                         <5
        E-34                 10/13/1999                 90                        7.1
        E-34                  4/26/2000                 80                         <5
        E-34                  11/7/2000                 65                         <5
        E-34                  4/26/2001                 52                         <5
        E-34                 10/10/2001                 50                         <5
        E-34                  4/30/2002                 42                         <5
        E-34                  8/21/2002                 40                         <3
        E-34                  2/27/2003                 50                         <5
        E-34                   9/2/2003                 40                         <1
        E-34                  2/23/2004                <10                        6.5
        E-34                  8/25/2004                 30                         <3
        E-34                  3/27/2007                 19                          2
        E-34                  9/13/2007                 57                         <2
        E-34                  4/24/2008                 40                         <2
        E-34                  11/7/2008                 69                       1.7 J
        E-34                  3/20/2014               <0.50                       NA
        E-34               3/20/2014 (dup)            <0.50                       NA
        E-34                  9/24/2014               <0.50                       NA
        E-34                  3/12/2015               <0.50                       NA
        E-34                  9/22/2015               <1.0                        6.6
        E-34                  3/29/2016               <1.0                        8.7
        E-34               3/29/2016 (dup)            <1.0                        8.2
        E-35                  1/11/1990                <20                        <10
        E-35                 10/24/1990                <20                        <10
        E-35                  1/17/1991                <20                        <10
        E-35                  7/20/1992                <10                        <5
        E-35                   7/7/1993                <10                        <5
        E-35                   4/5/1994                <10                         3
        E-35                   4/5/1995                <10                        <2
        E-35                   5/2/1996                <10                         4
        E-35                  4/23/1997                <10                         3
        E-35                  5/18/1998                <10                        <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-35                  4/26/1999               <10                          <5
        E-35                  4/27/2000               <10                          <5
        E-35                  4/24/2001               <10                          <5
        E-35                  4/22/2002                <1                          <2
        E-35                  2/21/2003                NA                          1.7
        E-35                  2/17/2004               <0.5                         <3
        E-35                  3/26/2007                <2                          3.5
        E-35                  9/12/2007                <2                        1.6 J
        E-35                  3/20/2014              0.27 J                       NA
        E-35                  3/12/2015              0.11 J                       NA
        E-35                  3/29/2016               <1.0                        NA
        E-36                  1/11/1990                40                         <10
        E-36                 10/24/1990               <20                         <10
        E-36                  1/17/1991               <20                         <10
        E-36                   4/2/1991               <20                         <10
        E-36                  7/22/1991               <20                         <10
        E-36                 10/24/1991                14                         <0.5
        E-36                  1/20/1992               <10                         <0.5
        E-36                  7/20/1992               <10                         <0.5
        E-36               7/20/1992 (dup)            <10                         <0.5
        E-36                   1/5/1993               <10                         <0.5
        E-36                   7/6/1993               <10                         <0.5
        E-36                   4/5/1994               <10                           4
        E-36                  11/7/1994               <10                           6
        E-36                   4/4/1995               <10                          <2
        E-36                 10/25/1995               <10                           7
        E-36                  4/30/1996               <10                          <2
        E-36                 10/29/1996               <10                          <2
        E-36                  4/23/1997               <10                          <2
        E-36                 10/21/1997               <10                           3
        E-36                  5/15/1998               <10                         <0.5
        E-36                 10/21/1998               <10                         <0.5
        E-36                  4/26/1999               <10                         <0.5
        E-36                 10/12/1999               <10                         <0.5
        E-36                  4/27/2000              <13.4                        <0.5
        E-36                  4/23/2001                3.5                        <0.5
        E-36                  10/9/2001                5.6                        <0.5
        E-36                  4/22/2002                NA                          <2
        E-36                  2/25/2003                3.8                         4.1
        E-36                  2/17/2004                <2                          <3
        E-36                  3/22/2006                <2                          1.3
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-36                  9/11/2006                <20                       0.85 J
        E-36                  4/30/2009               <3.0                        <1.9
        E-36                  11/6/2009               <3.7                        2.0 J
        E-36                  4/23/2010               8.4 J                        <10
        E-36                 10/12/2010                ND                          ND
        E-36                  5/11/2011                ND                          ND
        E-36                 10/26/2011                <10                         <10
        E-36                  6/12/2012                <10                         <10
        E-36                  12/4/2012              0.42 J                        <10
        E-36                  3/18/2013             0.076 J                       3.3 J
        E-36                   9/4/2013              0.45 J                        NA
        E-36                  3/17/2014              0.43 J                      0.97 J
        E-36                  9/22/2014               0.78                       0.99 J
        E-36                  3/10/2015              <0.50                       0.99 J
        E-36                  9/22/2015               <1.0                        <2.0
        E-36               9/22/2015 (dup)            <1.0                        <2.0
        E-36                  3/30/2016               <1.0                        <2.0
        E-36               3/30/2016 (dup)            <1.0                        <2.0
        E-37                  1/11/1990                <20                         <10
        E-37                 10/24/1990                <20                         <10
        E-37                  1/17/1991                <20                         <10
        E-37                  4/22/2002                <1                          <2
        E-37                  2/21/2003                <10                         1.1
        E-37                  2/17/2004                <10                         <3
        E-37                  3/23/2007                <2                          3.2
        E-37                  9/12/2007                <2                          2.5
        E-37                  3/30/2016               <1.0                         NA
        E-38                 10/23/1990                <20                         <10
        E-38                  1/17/1991                <20                         <10
        E-39                 10/24/1990                <20                         <10
        E-39                  1/17/1991                <20                         <10
        E-39                  7/22/1992                <10                        <0.5
        E-39                  7/12/1993                <10                        <0.5
        E-39                   4/6/1994                <10                         <2
        E-39                   4/6/1995                <10                         <2
        E-39                 10/25/1995                <10                          7
        E-39                   5/1/1996                <10                         <2
        E-39                 10/30/1996                <10                          4
        E-39                  4/29/1997                <10                         <2
        E-39                 10/23/1997                <10                          4
        E-39                  5/20/1998                <10                        <0.5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                            DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-39                 10/22/1998               <10                         <0.5
        E-39                  4/29/1999               <10                         <0.5
        E-39                 10/12/1999               <10                         <0.5
        E-39                  4/26/2000               <10                         <0.5
        E-39                  11/6/2000               <10                         <0.5
        E-39                  4/30/2001                <1                         <0.5
        E-39                  7/18/2001                <1                         NA
        E-39                  10/9/2001               <10                         <0.5
        E-39                  4/25/2002                <1                         <0.5
        E-39                  8/20/2002                <1                          <3
        E-39                  2/25/2003               <10                          <1
        E-39                  8/28/2003               <10                          20
        E-39                  2/19/2004               <10                          <3
        E-39                  8/24/2004               <10                          <3
        E-40                 10/25/1990               <20                         <10
        E-40                  1/17/1991               <20                         <10
        E-40                  11/6/2000               <10                          <5
        E-40                  4/25/2001               <10                          <5
        E-40                  3/23/2007                <2                          1.7
        E-40                  9/12/2007                <2                          3.3
        E-40                  4/23/2008              0.87 J                        <2
        E-40                4/23/08 (dup)            0.87 J                        <2
        E-40                  11/5/2008               <10                          <5
        E-40                 10/13/2010               ND                          ND
        E-40                  5/10/2011               ND                          ND
        E-40                 10/25/2011               <10                        6.6 J
        E-40                  3/18/2014              <0.50                        <1.0
        E-40                  9/24/2014              <0.50                        <1.0
        E-40                  3/10/2015              <0.50                        <1.0
        E-40                  9/22/2015              <0.50                         2.1
        E-40                  3/29/2016               <1.0                        <2.0
        E-41                 10/30/1990               150                         <10
        E-41                   2/5/1991               120                         <10
        E-41                  7/22/1992               100                          <5
        E-41                  7/13/1993               100                          <5
        E-41                   4/7/1994                60                          <2
        E-41                   4/6/1995                50                          <2
        E-41                   5/3/1996                40                          <2
        E-41                  5/21/1997                30                           3
        E-41                  5/22/1998                20                          <5
        E-41                  4/30/1999                20                          <5
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                     (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-41                 4/28/2000                   10                        <5
        E-41                 4/26/2001                   11                        <5
        E-41                 4/30/2002                   16                        5.6
        E-41                 2/26/2003                   10                        <5
        E-41                 2/23/2004                   10                        <3
        E-41                 3/27/2007                    5                      1.2 J
        E-41                 9/12/2007                  3.7                      1.2 J
        E-41                 3/19/2013                  2.8                       <10
        E-41                  9/4/2013                  2.9                       NA
        E-41                 3/19/2014                  1.7                       NA
        E-41                 3/13/2015                  3.3                       NA
        E-41                 3/28/2016                  1.3                       NA
        E-42                10/31/1990                 1200                       <10
        E-42                  2/7/1991                 1400                       <10
        E-42                 4/10/1991                 1200                       <10
        E-42                  8/2/1991                 1300                       <10
        E-42                10/30/1991                 1200                        <5
        E-42                 1/28/1992                  960                        <5
        E-42                 7/23/1992                 1500                        <5
        E-42                 1/11/1993                 1600                        <5
        E-42                 7/14/1993                 1400                        <5
        E-42                 4/12/1994                  580                        <2
        E-42                 12/9/1994                  490                        <2
        E-42                 4/10/1995                  420                        <2
        E-42                  5/3/1996                  130                        <2
        E-42                 5/21/1997                   70                        <2
        E-42                 5/22/1998                   20                        <5
        E-42                 4/30/1999                   20                        <5
        E-42                 4/28/2000                   10                        <5
        E-42                 4/24/2001                  <10                        <5
        E-42                 4/24/2002                  <10                        <5
        E-42                 2/24/2003                  <10                       NA
        E-42                 2/23/2004                  <10                        <3
        E-42                 3/22/2007                  5.1                      1.4 J
        E-42                 9/11/2007                    4                      7.5 J
        E-42                 4/29/2009                 3.4 J                      <1.9
        E-42                 11/6/2009                 <3.7                      5.2 J
        E-42                 4/22/2010                  <10                       <10
        E-42                10/11/2010                 3.9 J                      ND
        E-42                  5/9/2011                  ND                        ND
        E-42                10/24/2011                  <10                      4.2 J
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                     (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-42                 6/13/2012                 <10                        <10
        E-42                 12/3/2012                  3.0                      3.2 J
        E-42                 3/19/2013                  3.0                      2.0 J
        E-42                  9/6/2013                  2.6                       NA
        E-42                 3/19/2014                  2.8                       NA
        E-42                 9/23/2014                  2.2                       NA
        E-42                 3/13/2015                  2.8                       NA
        E-42                 9/21/2015                  1.2                       NA
        E-42                 3/28/2016                 <1.0                       NA
        E-43                10/29/1990                  94                        <10
        E-43                  2/6/1991                  80                        <10
        E-43                  4/9/1991                  80                        <10
        E-43                 7/25/1991                  50                        <10
        E-43                10/29/1991                  71                         <5
        E-43                 1/22/1992                  47                         <5
        E-43                 7/22/1992                  33                         <5
        E-43                  1/7/1993                  43                         <5
        E-43                 7/13/1993                  32                         <5
        E-43                 4/11/1994                  20                         <2
        E-43                 12/8/1994                  20                         <2
        E-43                  4/7/1995                  30                         <2
        E-43                  5/1/1996                  20                         <2
        E-43                 5/20/1997                  10                          4
        E-43                 5/20/1998                  20                         <5
        E-43                 4/29/1999                  10                         <5
        E-43                 4/27/2000                  10                         <5
        E-43                 4/26/2001                 <10                         <5
        E-43                 4/30/2002                  16                         <5
        E-43                 2/26/2003                  10                         <5
        E-43                 2/23/2004                  10                         <3
        E-43                 3/22/2007                  5.1                      1.2 J
        E-43                 9/11/2007                  4.1                      1.8 J
        E-43                 4/29/2009                4.3 J                       <1.9
        E-43                 11/6/2009                 <3.7                      4.1 J
        E-43                 4/21/2010                3.7 J                       <10
        E-43                10/11/2010                 ND                         ND
        E-43                  5/9/2011                 7.9 J                      3.2 J
        E-43                10/24/2011                5.2 J                      3.4 J
        E-43                 6/13/2012                4.0 J                       <10
        E-43                 12/6/2012                  4.9                       <10
        E-43                 3/19/2013                  5.1                       <10
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                     (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-43                  9/4/2013                  5.6                        NA
        E-43                 3/19/2014                  6.5                      0.93 J
        E-43                 3/28/2016                 <1.0                        NA
        E-44                10/29/1990                 <20                         <10
        E-44                 1/22/1991                 <20                         <10
        E-44                  4/3/1991                 <20                         <10
        E-44                 7/23/1991                 <20                         <10
        E-44                10/24/1991                  33                          <5
        E-44                 1/21/1992                  18                          <5
        E-44                 7/21/1992                  15                          <5
        E-44                  1/5/1993                  27                          <5
        E-44                  7/8/1993                  19                          <5
        E-44                  4/5/1994                  30                           3
        E-44                 11/8/1994                  10                          <2
        E-44                  4/5/1995                 110                          <2
        E-44                  5/2/1996                 160                          <2
        E-44                 5/20/1997                 240                          <2
        E-44                 5/22/1998                 390                          <5
        E-44                 4/28/1999                 520                          <5
        E-44                 4/27/2000                 250                          <5
        E-44                 4/30/2001                 150                          <5
        E-44                 7/18/2001                  89                         NA
        E-44                  5/1/2002                  77                          <5
        E-44                 2/26/2003                 100                          <5
        E-44                 2/24/2004                 110                          <3
        E-44                 3/23/2007                 130                        1.6 J
        E-44                 9/11/2007                 120                        .94 J
        E-44                 4/28/2009                 110                         <1.8
        E-44                 11/6/2009                  98                        3.6 J
        E-44                 4/21/2010                  88                        1.8 J
        E-44                10/11/2010                  70                         ND
        E-44                  5/9/2011                  67                         ND
        E-44                10/24/2011                  50                        5.9 J
        E-44                 6/13/2012                  42                        4.9 J
        E-44                 12/3/2012                  39                        3.1 J
        E-44                 3/19/2013                  32                        2.2 J
        E-44                  9/5/2013                  29                         NA
        E-44                 3/17/2014                  26                       0.61 J
        E-44                 9/23/2014                  22                       0.75 J
        E-44                  3/5/2015                  24                       0.75 J
        E-44                 9/22/2015                  14                         <2.0
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-44                  3/28/2016                 16                            <2.0
        E-45                 10/31/1990                540                             <10
        E-45                   2/7/1991                710                             <10
        E-45                  4/10/1991                350                             <10
        E-45                   8/2/1991                500                             <10
        E-45                 10/29/1991                170                             <5
        E-45                  1/28/1992                360                             <5
        E-45                  7/23/1992                260                             <5
        E-45                   1/7/1993                390                             <5
        E-45                  7/14/1993                420                             <5
        E-45                  4/11/1994                470                             <2
        E-45                  12/9/1994                350                             <2
        E-45                   4/7/1995                230                             <2
        E-45                   5/3/1996                140                             <2
        E-45                  5/21/1997                100                             <2
        E-45                  5/22/1998                 70                             <5
        E-45                  4/28/1999                 60                             5.7
        E-45                  4/28/2000                 30                              5
        E-45                  4/26/2001                 16                             <5
        E-45                  4/30/2002                 16                             <5
        E-45                  2/26/2003                 10                             <5
        E-45                  2/23/2004                 10                             <3
        E-45                  3/27/2007                9.9                             <2
        E-45               3/27/2007 (dup)             9.8                             <2
        E-45                  9/11/2007                9.4                            7.1 J
        E-45               9/11/2007 (dup)             9.2                            6.6 J
        E-45                  11/6/2009               8.1 J                           4.0 J
        E-45                  4/22/2010               8.0 J                            <10
        E-45                 10/13/2010               9.4 J                            ND
        E-45                   5/9/2011               6.6 J                            ND
        E-45                 10/26/2011               5.2 J                           2.5 J
        E-45                  6/14/2012               4.1 J                            <10
        E-45                  12/4/2012                5.9                             <10
        E-45                  3/19/2013                  6                            2.2 J
        E-45                   9/6/2013                4.8                             NA
        E-45                  3/17/2014                5.7                             NA
        E-45                  3/24/2015                4.1                             NA
        E-45                  3/29/2016               <1.0                             NA
        E-46                 10/29/1990                 30                             <10
        E-46                   2/7/1991                710                             <10
        E-46                   4/8/1991                <20                             <10
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                     (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-46                 7/24/1991                 <20                        <10
        E-46                10/28/1991                  15                         <5
        E-46                 1/22/1992                  13                         <5
        E-46                 7/22/1992                 <10                         <5
        E-46                  1/6/1993                  25                         <5
        E-46                 7/12/1993                 <10                         <5
        E-46                  4/6/1994                 <10                         <2
        E-46                 12/9/2004                 <10                          3
        E-46                  4/6/1995                 <10                         <2
        E-46                 4/30/1996                 <10                         <2
        E-46                 4/25/1997                 <10                          2
        E-46                 5/18/1998                 <10                         <5
        E-46                 4/27/1999                 <10                         <5
        E-46                 4/25/2000                 <10                         <5
        E-46                 4/24/2001                  1.4                        <5
        E-46                 4/24/2002                  1.1                        <5
        E-46                 2/24/2003                 <10                         <1
        E-46                 2/19/2004                 <10                         <3
        E-46                 3/22/2007                  <2                       .94 J
        E-46                 9/11/2007                  <2                          4
        E-46                 3/19/2014                 0.59                       NA
        E-46                  3/5/2015                0.49 J                      NA
        E-46                 3/29/2016                 <1.0                       NA
        E-47                10/29/1990                 <20                        <10
        E-47                 1/22/1991                 <20                        <10
        E-47                10/10/1991                  2.9                        <5
        E-47                 4/25/2002                  4.8                        <5
        E-47                 2/24/2003                 NA                          <1
        E-47                 2/23/2004                  5.4                        <3
        E-47                 3/26/2007                  3.2                      1.5 J
        E-47                 9/11/2007                  3.5                      5.7 J
        E-47                 3/20/2014                 0.92                       NA
        E-47                 9/23/2014                  3.9                       NA
        E-47                  3/5/2015                  3.5                       NA
        E-47                 9/21/2015                  1.3                       NA
        E-47                 3/28/2016                  1.5                       NA
        E-48                10/31/1990                1100                        <10
        E-48                  2/7/1991                 730                        <10
        E-48                10/24/1991                 620                         <5
        E-48                 7/23/1992                 340                         <5
        E-48                 7/14/1993                  97                         <5
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                        CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                          (µg/l)
                                                    MCL: 10 µg/l                    MCL: 10 µg/l
        E-48                4/12/1994                   260                            <2
        E-48                4/10/1995                   110                             2
        E-48                 5/2/1996                    50                            <2
        E-48                5/20/1997                    50                             2
        E-48                5/21/1998                    30                            <5
        E-48                4/28/1999                    30                            <5
        E-48                4/27/2000                    10                            <5
        E-48                4/25/2001                    13                             <5
        E-48                4/24/2002                   <10                             <5
        E-48                2/21/2003                    10                             <1
        E-48                 2/23/2004                  <10                             <3
        E-48                 3/23/2007                  <2                             2.5
        E-48                 9/11/2007                  <2                            1.8 J
        E-48                 8/20/2013                             Well Abandoned
        E-49                10/30/1990                  320                             <10
        E-49                  2/6/1991                  390                             <10
        E-49                 4/10/1991                  330                             <10
        E-49                 7/25/1991                  250                             <10
        E-49                10/29/1991                  340                             <5
        E-49                 1/28/1992                  200                             <5
        E-49                 7/23/1992                  130                             <5
        E-49                  1/7/1993                  130                             <5
        E-49                 7/13/1993                  100                             <5
        E-49                 4/11/1994                   90                             <2
        E-49                 12/8/1994                   90                             <2
        E-49                  4/7/1995                   70                              3
        E-49                  5/2/1996                   50                             <2
        E-49                 5/20/1997                   40                             <2
        E-49                 5/21/1998                   50                             <5
        E-49                 4/28/1999                   50                             <5
        E-49                 4/27/2000                   50                             <5
        E-49                 4/30/2001                   67                             <5
        E-49                 7/18/2001                   37                             NA
        E-49                 5/1/2002                   35                              <5
        E-49                2/26/2003                   30                              <5
        E-49                2/24/2004                   20                              <3
        E-49                3/22/2007                   22                              <2
        E-49                9/11/2007                   22                              2.4
        E-49                 4/29/2009                  25                             <1.9
        E-49                11/6/2009                   21                             3.6 J
        E-49                 4/22/2010                  22                              <10
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                        CHROMIUM (CrVI)                 ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                     (µg/l)
                                                    MCL: 10 µg/l               MCL: 10 µg/l
        E-49                10/11/2010                   20                       ND
        E-49                  5/9/2011                   19                       ND
        E-49                10/25/2011                   15                      4.5 J
        E-49                 6/13/2012                   14                       ND
        E-49                 12/3/2012                   16                      2.3 J
        E-49                 3/19/2013                   14                      2.5 J
        E-49                  9/4/2013                   13                       NA
        E-49                 3/19/2014                   13                       NA
        E-49                 9/23/2014                   10                       NA
        E-49                  3/5/2015                   10                       NA
        E-49                 9/22/2015                   5.5                      NA
        E-49                 3/28/2016                   8.0                      NA
        E-50                10/29/1990                  300                       <10
        E-50                  2/5/1991                   66                       <10
        E-50                  4/8/1991                  <20                       <10
        E-50                 7/24/1991                   40                       <10
        E-50                10/28/1991                  110                        <5
        E-50                 1/23/1992                   62                        <5
        E-50                 7/22/1992                   98                        <5
        E-50                  1/6/1993                   71                        <5
        E-50                 7/13/1993                   86                        <5
        E-50                  4/7/1994                   80                        <2
        E-50                 12/8/1994                   60                        <2
        E-50                  4/6/1995                  <10                         3
        E-50                  5/2/1996                   20                        <2
        E-50                 5/20/1997                  <10                         4
        E-50                 5/21/1998                  <10                        <5
        E-50                 4/28/1999                  <10                        <5
        E-50                 4/27/2000                  <10                        <5
        E-50                 4/26/2001                   <1                        <5
        E-50                 4/29/2002                   <1                        <5
        E-50                 2/24/2003                  NA                         1.8
        E-50                 2/18/2004                  <0.5                       <3
        E-50                 3/27/2007                   <2                      1.7 J
        E-50                 9/12/2007                   <2                       .8 J
        E-50                 4/29/2009                   <3                       <1.9
        E-50                 11/6/2009                  <3.7                     3.7 J
        E-50                 4/22/2010                  <10                      3.3 J
        E-50                10/13/2010                  ND                        ND
        E-50                 5/11/2011                  ND                        ND
        E-50                10/24/2011                  <10                      5.2 J
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-50                  6/14/2012               <10                         <10
        E-50                  3/19/2014              0.31 J                       NA
        E-50                  3/12/2015              <0.50                        NA
        E-50                  3/28/2016               <1.0                        NA
        E-50               3/28/2016 (dup)            <1.0                        NA
        E-51                 10/31/1990               2500                        <10
        E-51                   2/7/1991               2900                        <10
        E-51                  4/10/1991               1300                        <10
        E-51                   8/2/1991               2000                        <10
        E-51                 10/30/1991               2400                        <5
        E-51                  1/28/1992               2600                        <5
        E-51                  7/23/1992               1700                        <5
        E-51                  1/11/1993               1800                        <5
        E-51                  7/14/1993               2200                        <5
        E-51                  4/12/1994                650                         <2
        E-51                  12/9/1994                420                         2
        E-51                  4/10/1995                320                         <2
        E-51                   5/3/1996                140                         <2
        E-51                  5/21/1997                 80                         <2
        E-51                  5/22/1998                 50                         <5
        E-51                  4/30/1999                 50                         <5
        E-51                  4/28/2000                 40                        6.1
        E-51                  4/30/2001                 73                         <5
        E-51                  7/18/2001                 30                        NA
        E-51                  4/30/2002                32                         7.3
        E-51                  4/26/2003                30                         <5
        E-51                  2/24/2004                30                         <3
        E-51                  3/22/2007                41                        1.0 J
        E-51                  9/11/2007                40                        1.2 J
        E-51                  11/6/2009                33                        5.3 J
        E-51                  4/22/2010                15                        2.7 J
        E-51                 10/11/2010                26                         ND
        E-51                   5/9/2011                10                         ND
        E-51                 10/26/2011                17                        2.8 J
        E-51                  6/13/2012                19                         <10
        E-51                  12/3/2012                 29                       6.6 J
        E-51                  3/19/2013                 14                        <10
        E-51                  3/19/2014                 14                        NA
        E-51                  9/23/2014                 17                        NA
        E-51                   3/5/2015                 15                        NA
        E-51                  9/21/2015                5.7                        NA
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                        CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                          (µg/l)
                                                    MCL: 10 µg/l                    MCL: 10 µg/l
        E-51                 3/28/2016                  <1.0                             NA
        E-52                10/25/1990                  <20                              <10
        E-52                 1/23/1991                  <20                              <10
        E-52                  4/3/1991                  <20                              <10
        E-52                 7/23/1991                  <20                              <10
        E-52                11/20/1991                  <10                              <5
        E-52                 1/21/1992                  <10                              <5
        E-52                 7/21/1992                  <10                              <5
        E-52                  1/6/1993                  <10                              <5
        E-52                 7/12/1993                  <10                              <5
        E-52                  4/6/1994                  <10                              <2
        E-52                 12/8/1994                  <10                              <2
        E-52                  4/5/1995                  <10                              <2
        E-52                  5/1/1996                  <10                              <2
        E-52                 4/25/1997                  <10                              <2
        E-52                 5/20/1998                  <10                              <5
        E-52                 4/27/1999                  <10                              5.4
        E-52                 4/25/2000                  <10                              <5
        E-52                 4/25/2001                   <1                              <5
        E-52                 4/24/2002                   <1                              <5
        E-52                 2/21/2003                  <10                              <1
        E-52                 2/18/2004                  <10                              <3
        E-52                 3/23/2007                   <2                             1.0 J
        E-52                 9/11/2007                   <2                            0.85 J
        E-52                 8/20/2013                             Well Abandoned
        E-53                10/25/1990                  <20                             <10
        E-53                 1/23/1991                  <20                             <10
        E-53                10/24/1991                  <10                             <5
        E-53                 1/22/1992                  <10                             <5
        E-53                 7/21/1992                  <10                             <5
        E-53                 7/12/1993                  <10                             <5
        E-53                  4/6/1994                  <10                             <2
        E-53                 11/8/1994                  <10                             <2
        E-53                  4/5/1995                  <10                             <2
        E-53                10/25/1995                  <10                             <2
        E-53                  5/1/1996                  <10                             <2
        E-53                10/30/1996                  <10                              2
        E-53                 4/25/1997                  <10                             <2
        E-53                10/23/1997                  <10                             <2
        E-53                 5/19/1998                  <10                             <5
        E-53                10/22/1998                  <10                             <5
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                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                        CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                          (µg/l)
                                                    MCL: 10 µg/l                    MCL: 10 µg/l
        E-53                 4/27/1999                 <10                             <5
        E-53                10/12/1999                 <10                             <5
        E-53                 4/25/2000                 <10                             <5
        E-53                 11/6/2000                 <10                             <5
        E-53                 4/25/2001                  <1                             <5
        E-53                10/10/2001                 <2.5                            <5
        E-53                 4/25/2002                  <1                             <5
        E-53                 8/20/2002                  <1                             <3
        E-53                 2/21/2003                 <.5                             1.2
        E-53                 8/28/2003                 <.5                             1.2
        E-53                 2/19/2004                 <.5                             <3
        E-53                 8/24/2004                 <.5                             <3
        E-53                 3/22/2007                  <2                             3.7
        E-53                 9/11/2007                  <2                             5.7
        E-53                 4/23/2008                1.4 J                            <2
        E-53                 11/6/2008                3.7 J                            <5
        E-53                 8/19/2013                             Well Abandoned
        E-54                10/25/1990                  <20                             <10
        E-54                12/24/1990                  <20                             <10
        E-54                  4/3/1991                  <20                             <10
        E-54                 7/23/1991                  <20                             <10
        E-54                10/24/1991                  <10                             <5
        E-54                 1/22/1992                  <10                             <5
        E-54                 1/23/1996                  <10                             <5
        E-54                  1/6/1993                   12                             <5
        E-54                 7/12/1993                  <10                             <5
        E-54                  4/6/1994                  <10                             <2
        E-54                 11/8/1994                  <10                             <2
        E-54                  4/5/1995                  <10                              3
        E-54                10/25/1995                  <10                              5
        E-54                  5/1/1996                  <10                             <2
        E-54                10/30/1996                  <10                              2
        E-54                 4/25/1997                  <10                             <2
        E-54                10/23/1997                  <10                              2
        E-54                 5/19/1998                  <10                             <5
        E-54                10/22/1998                  <10                             <5
        E-54                 4/27/1999                  <10                             <5
        E-54                10/12/1999                  <10                             <5
        E-54                 4/25/2000                  <10                             <5
        E-54                 11/6/2000                  15                              <5
        E-54                 4/25/2001                  <10                             <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                  DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        E-54                  4/25/2002               <10                             7.7
        E-54                  8/20/2002               <1                               <3
        E-54                  2/21/2003               <10                              <1
        E-54                  8/28/2003               <10                             1.1
        E-54                  2/19/2004               <10                              <3
        E-54                  8/24/2004               <10                              10
        E-54                  3/22/2007               <2                              2.9
        E-54                  9/11/2007               <2                             .72 J
        E-54                  4/23/2008               5.7                             3.3
        E-54                  11/6/2008              4.8 J                             <5
        E-54                  8/19/2013                           Well Abandoned
        E-55                 12/13/1990                <20                             <10
        E-55                   2/5/1991                <20                             <10
        E-55                  1/21/1992                <10                             <5
        E-55                 10/28/1991                <10                             <5
        E-55                  4/25/2002                 <1                             <5
        E-55                  2/24/2003                <10                             <1
        E-55                  2/18/2004                <10                             <3
        E-55                  3/26/2007                 <2                             <2
        E-55               3/26/2007 (dup)              <2                            1.4 J
        E-55                  9/11/2007                 <2                             <2
        E-55               9/11/2007 (dup)              <2                            4.5 J
        E-55                  6/13/2012                 19                             ND
        E-55                  12/3/2012                 29                            6.6 J
        E-55                  3/20/2014               0.34 J                           NA
        E-55                  9/23/2014               0.21 J                           NA
        E-55                   3/5/2015               0.31 J                           NA
        E-55                  9/21/2015                4.4                             NA
        E-55                  3/28/2016                3.0                             NA
        E-56                 12/13/1990                140                             <10
        E-56                  1/23/1991                160                             <10
        E-56                   2/5/1991                170                             <10
        E-56                   4/9/1991                 30                             <10
        E-56                  7/25/1991                160                             <10
        E-56                 10/29/1991                160                             <5
        E-56                  1/23/1992                150                             <5
        E-56                  7/22/1992                160                             <5
        E-56               7/22/1992 (dup)             160                             <5
        E-56                   1/7/1993                150                             <5
        E-56                  7/13/1993                170                             <5
        E-56                   4/7/1994                <10                             <2
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                            DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        E-56                 12/8/1994                <10                             <2
        E-56                  4/6/1995                 20                             <2
        E-56                   5/1/1996               <10                             <2
        E-56                 4/29/1997                <10                              3
        E-56                  4/27/1999               <10                             <5
        E-56                  4/25/2000               <10                             <5
        E-56                  4/25/2001                <1                             <5
        E-56                  10/9/2001               <2.5                            <5
        E-56                  3/23/2007                 4                             3.4
        E-56                  9/11/2007                3.2                            3.3
        E-56                  4/30/2009                <3                            2.0 J
        E-56                  11/6/2009               <3.7                           6.2 J
        E-56                  4/22/2010               <10                            2.5 J
        E-56                 10/13/2010               ND                             2.7 J
        E-56                  5/11/2011               ND                              ND
        E-56                 10/25/2011               <10                            7.0 J
        E-56                  6/14/2012               <10                             <10
        E-56                  3/18/2013               0.55                           4.3 J
        E-56                  8/19/2013                           Well Abandoned
        E-57                 12/13/1990                300                             <10
        E-57                   2/6/1991                440                             <10
        E-57                   4/9/1991                460                             <10
        E-57                  7/25/1991                330                             <10
        E-57                 10/29/1991                650                             <5
        E-57                  1/23/1992                270                             <5
        E-57                  7/23/1992                350                             <5
        E-57                   1/7/1993                470                             <5
        E-57               1/7/1993 (dup)              360                             <5
        E-57                  7/13/1993                370                             <5
        E-57                  4/11/1994                390                             <2
        E-57                  11/9/1994                450                             <2
        E-57                   4/7/1995                490                             <2
        E-57                   5/3/1996                380                             <2
        E-57                  5/21/1997                210                             <2
        E-57                  5/22/1998                170                             <5
        E-57                  4/30/1999                110                             <5
        E-57                  4/28/2000                 20                             <5
        E-57                  4/30/2001                 68                             <5
        E-57                  7/18/2001                 56                             NA
        E-57                 4/30/2002                 41                              <5
        E-57                 2/27/2003                 40                              <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                       (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-57                  2/24/2004                 20                          <3
        E-57                  3/27/2007                 18                        1.6 J
        E-57                  9/13/2007                 14                        .72 J
        E-57               9/13/2007 (dup)              14                         <10
        E-57                  4/29/2009                <3.0                       2.0 J
        E-57                  11/6/2009                <3.7                       4.1 J
        E-57                 10/24/2011                <10                        5.8 J
        E-57                  6/12/2012                <10                         <10
        E-57                  12/6/2012                 2.0                      4.0 JB
        E-57                  3/19/2013                 1.2                       2.7 J
        E-57                   9/6/2013               0.21 J                       NA
        E-57                  3/19/2014                 3.6                        NA
        E-57                  3/24/2015                 1.6                        NA
        E-57                  3/29/2016                <1.0                        NA
        E-58                 12/13/1990                <20                         <10
        E-58                  1/24/1991                <20                         <10
        E-58                   4/3/1991                <20                         <10
        E-58                  7/24/1991                <20                          <5
        E-58                 10/28/1991                <10                          <5
        E-58                  1/22/1992                <10                          <5
        E-58                  7/21/1992                <10                          <5
        E-58                   1/6/1993                <10                          <5
        E-58                  7/12/1992                <10                          <5
        E-58                   4/6/1994                <10                          <2
        E-58                  11/8/1994                <10                          <2
        E-58                   4/6/1995                <10                           4
        E-58                 10/25/1995                <10                          <2
        E-58                   5/1/1996                <10                           3
        E-58                 10/30/1996                <10                          <2
        E-58                  4/25/1997                <10                           3
        E-58                 10/23/1997                <10                          <5
        E-58                  5/20/1998                <10                          <5
        E-58                 10/22/1998                <10                          <5
        E-58                  4/27/1999                <10                          <5
        E-58                 10/12/1999                <10                          <5
        E-58                  4/26/2000                <10                          <5
        E-58                  11/7/2000                <10                          <5
        E-58                  4/25/2001                <10                          <5
        E-58                 10/10/2001                <2.5                         <5
        E-58                  4/24/2002                 <1                          <5
        E-58                  8/20/2002                 <1                          <3
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                  DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        E-58                 2/21/2003                <5                               1
        E-58                 8/28/2003                <5                               <1
        E-58                 2/19/2004                <5                               <3
        E-58                 8/24/2004                <5                               <3
        E-58                  3/22/2007               <2                             .91 J
        E-58                  9/11/2007               <2                             1.2 J
        E-58                  4/23/2008              1.2 J                           1.2 J
        E-58                  11/5/2008               <10                              <5
        E-58                  8/19/2013                           Well Abandoned
        E-59                 11/26/1991                <10                              <5
        E-59                  1/20/1992                <10                              <5
        E-59                  7/21/1992                <10                              <5
        E-59                   1/4/1993                <10                              <5
        E-59                  7/12/1993                <10                              <5
        E-59                   4/6/1994                <10                              <2
        E-59                  11/7/1994                <10                               4
        E-59                   4/5/1995                <10                              <2
        E-59                 10/26/1995                <10                               6
        E-59                   5/1/1996                <10                              <2
        E-59                 10/30/1996                <10                              <2
        E-59                  4/25/1997                <10                              <2
        E-59                 10/23/1997                <10                              <2
        E-59                  5/19/1998                <10                              <5
        E-59                 10/22/1998                <10                              <5
        E-59                  4/27/1999                <10                              <5
        E-59                 10/12/1999                <10                              <5
        E-59              10/12/1999 (dup)             <10                              <5
        E-59                  4/25/2000                <10                              <5
        E-59                  11/7/2000                1.7                              <5
        E-59                  4/24/2001                2.3                              <5
        E-59                 10/10/2001               <2.5                              <5
        E-59                  7/24/2002                1.6                              <5
        E-59                  8/21/2002                2.1                              <3
        E-59                  2/25/2003                2.1                               1
        E-59                   9/3/2003                1.9                              <1
        E-59                  2/19/2004                1.8                              <3
        E-59                  8/24/2004                1.8                              <3
        E-59                  3/23/2007               1.6 J                           1.6 J
        E-59                 9/12/2007                 <2                             .72 J
        E-59                 4/23/2008                 2.8                            1.1 J
        E-59                  11/6/2008               5.8 J                             <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                  DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        E-59                  3/30/2016                <1.0                            NA
        E-60                 12/13/1990                 45                             <10
        E-60                  1/24/1991                <20                             <10
        E-60                   4/8/1991                 30                             <10
        E-60                  7/24/1991                 20                             <10
        E-60                 10/28/1991                 28                             <5
        E-60                  1/22/1992                 43                             <5
        E-60                  7/22/1992                 20                             <5
        E-60                   1/6/1993                 26                             <5
        E-60                  7/12/1993                 27                             <5
        E-60                   4/7/1994                 30                             <2
        E-60                  12/8/1994                 20                              2
        E-60                   4/6/1995                 10                             <2
        E-60                 10/26/1995                 10                             <2
        E-60                   5/1/1996                 10                             <2
        E-60                 10/30/1996                <10                             <2
        E-60                  4/29/1997                <10                             <2
        E-60                  5/20/1998                <10                             <5
        E-60                 10/22/1998                <10                             <5
        E-60                  4/27/1999                <10                             <5
        E-60                 10/12/1999                <10                             <5
        E-60                  4/27/2000                <10                             <5
        E-60                  11/7/2000                 3.7                            <5
        E-60                  4/25/2001                 3.9                            <5
        E-60                 10/10/2001                  3                             <5
        E-60              10/10/2001 (dup)              3.5                            <5
        E-60                  4/30/2002                 4.3                             8
        E-60                  2/24/2003                <10                             <1
        E-60                  2/18/2004                <10                             <3
        E-60                  3/23/2007                 3.9                           1.3 J
        E-60                  9/11/2007                  3                             <2
        E-60                  4/23/2008                 5.8                           1.4 J
        E-60                  8/19/2013                           Well Abandoned
        E-61                 11/26/1991                39                              <5
        E-61                  1/22/1992                58                              <5
        E-61                  7/21/1992                60                              <5
        E-61                   1/6/1993                73                              <5
        E-61                  7/13/1993                78                              <5
        E-61                   4/7/1994                80                              <2
        E-61                  12/8/1994                70                              <2
        E-61                   4/6/1995                50                              <2
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                            DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-61                   5/2/1996                 10                         <2
        E-61                  5/20/1997                 <10                        <2
        E-61                  5/21/1998                 <10                        <5
        E-61                  4/28/1999                 <10                        <5
        E-61                  4/27/2000                 <10                        <5
        E-61                  4/25/2001                 <1                         <5
        E-61                  4/29/2002                 1.5                        <5
        E-61                  2/24/2003                 <5                         <1
        E-61                  2/18/2004                0.84                        <3
        E-61                  3/27/2007                 <2                       1.5 J
        E-61                  9/12/2007                 <2                       .42 J
        E-61                  3/20/2014               0.25 J                      NA
        E-61                  3/12/2015               <0.50                       NA
        E-61                  3/28/2016                <1.0                       NA
        E-62                 11/26/1991                 <10                        <5
        E-62                  1/21/1992                 <10                        <5
        E-62                  7/21/1992                 <10                        <5
        E-62                   1/5/1993                 14                         <5
        E-62               1/5/1993 (dup)               48                         <5
        E-62                  7/12/1993                 <10                        <5
        E-62                   4/6/1994                 <10                        <2
        E-62                  11/8/1994                 <10                        <2
        E-62                   4/6/1995                 <10                        <2
        E-62                 10/26/1995                 <10                         3
        E-62                   5/1/1996                 <10                        <2
        E-62                 10/30/1996                 <10                        <2
        E-62                  4/29/1997                 <10                         2
        E-62                 10/23/1997                 <10                        <2
        E-62                  5/20/1998                 <10                        <5
        E-62                 10/22/1998                 <10                        <5
        E-62                  4/27/1999                 <10                        <5
        E-62                 10/12/1999                 <10                        <5
        E-62                  4/25/2000                 <10                        <5
        E-62                  11/7/2000                 <1                         <5
        E-62                  4/25/2001                 <1                         <5
        E-62                  4/25/2002                 <1                         <5
        E-62                  2/21/2003                 <10                        <1
        E-62                  2/19/2004                 <10                        <3
        E-62                  3/23/2007                1.1 J                     1.2 J
        E-62                  9/11/2007                 <2                       1.6 J
        E-62                   9/6/2013                 0.6                       NA
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        E-62                  3/18/2014               0.76                       0.70 J
        E-62                  9/22/2014               0.59                       0.51 J
        E-62                  3/10/2015               0.81                        <1.0
        E-62                  9/22/2015               <1.0                         2.4
        E-62                  3/29/2016               <1.0                        <2.0
        EX                    4/18/1989               400                         <10
        EX                    1/15/1990               530                         <10
        EX                   10/30/1990               520                         <10
        EX                     2/6/1991               340                         <10
        EX                     4/9/1991               160                         <10
         EX                   7/25/1991               360                         <10
         EX                   1/23/1992               290                         <10
         EX                  10/29/1992               350                          <5
         EX                    1/7/1993               200                          15
         EX                   4/11/1994               210                          <2
         EX                   11/9/1994               NA                           11
        EX                   12/16/1994               100                         NA
        EX                     4/7/1995               220                           5
        EX                   10/26/1995               100                          <2
        EX                     5/3/1996               130                          <2
         EX                  10/30/1996               110                          12
         EX                   5/20/1997               260                           3
         EX                  10/23/1997               470                           3
         EX                   5/21/1998                80                          <5
         EX                  10/22/1998                60                          <5
         EX                   4/29/1999               120                          <5
         EX                  10/13/1999               110                          8.5
         EX                   4/26/2000               110                          5.3
         EX                   11/7/2000               <10                          <5
         EX                   4/26/2001                66                          <5
         EX                  10/10/2001                79                          <5
         EX                   4/30/2002                46                          <5
         EX                   8/21/2002                40                          <3
         EX                   2/26/2003                70                          <5
         EX                    9/2/2003                12                          11
         EX                   2/24/2004               100                          5.6
         EX                   8/25/2004               170                          <3
         EX                   11/7/2008               400                          5.6
         EX                   4/28/2009               440                        4.7 J
         EX                4/28/2009 (dup)            210                        4.9 J
         EX                   11/5/2009               280                          18
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                       DISSOLVED
     WELL                                       CHROMIUM (CrVI)                          ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                                (µg/l)
                                                   MCL: 10 µg/l                         MCL: 10 µg/l
         EX                   4/21/2010                 35                                   10
         EX                4/21/2010 (dup)              33                                   13
         EX                  10/12/2010                 36                                 8.2 J
         EX                   5/10/2011                480                                  6.3 J
         EX                  10/10/2013                           Well Buried During Excavation
        EX-2                  1/28/1992               630                                    <5
        EX-2                  7/23/1992               770                                    <5
        EX-2                  1/11/1993               810                                    <5
        EX-2                  4/11/1994               550                                    <2
        EX-2                  11/9/1994               NA                                      5
        EX-2                 12/16/1994               490                                   NA
        EX-2                   4/7/1995               530                                    <2
        EX-2                 10/26/1995               350                                     4
        EX-2                   5/3/1996               340                                    <2
        EX-2                 10/30/1996               240                                    <2
        EX-2                  4/23/1997               280                                    <2
        EX-2                 10/23/1997               210                                    <2
        EX-2                  5/22/1998               200                                    <5
        EX-2                 10/22/1998               260                                    <5
        EX-2                  4/30/1999               170                                    <5
        EX-2                 10/13/1999               140                                     7
        EX-2                  4/26/2000               130                                    <5
        EX-2                  11/7/2000               130                                    <5
        EX-2                  4/26/2001                84                                    <5
        EX-2                 10/10/2001               100                                    26
        EX-2                  4/30/2002                93                                    <5
        EX-2                  8/21/2002                90                                    <3
        EX-2                  2/26/2003                80                                    <1
        EX-2                   9/2/2003                80                                    <1
        EX-2                  2/24/2004                80                                    <3
        EX-2                  8/25/2004                60                                    <3
        EX-2                  3/27/2007                71                                  1.5 J
        EX-2                  9/13/2007                87                                  .72 J
        EX-2                  4/24/2008                62                                    <2
        EX-2                  11/6/2008                65                                  1.8 J
        EX-2                  4/29/2009                56                                   <1.9
        EX-2                  11/5/2009                63                                  7.5 J
        EX-2                 10/25/2011                80                                  4.5 J
        EX-2                  6/14/2012                85                                   <10
        EX-2                  12/6/2012               NR*                                   NR*
        EX-2                   9/6/2013               100                                   NA
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                       CHROMIUM (CrVI)                  ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                      (µg/l)
                                                   MCL: 10 µg/l                MCL: 10 µg/l
        EX-2                9/6/2013 (dup)             110                        NA
        EX-2                   3/19/2014                87                        NA
        EX-2               3/19/2014 (dup)              89                        NA
        EX-2                   3/13/2015                45                        NA
        EX-2                   3/29/2016                43                        NA
        EX-3                   5/25/1993               180                         <5
        EX-3                    7/7/1993               190                         <5
        EX-3                   4/11/1994               100                         <2
        EX-3                   11/9/1994               NA                          <2
        EX-3                  12/16/1994                60                        NA
        EX-3                    4/6/1995                70                         <2
        EX-3                  10/26/1995                30                         <2
        EX-3                    5/2/1996                50                         <2
        EX-3                  10/30/1996                70                         <2
        EX-3                   4/23/1997                50                         <2
        EX-3                  10/23/1997                20                         <2
        EX-3                   5/21/1998                40                         <5
        EX-3                  10/22/1998                60                         <5
        EX-3                   4/28/1999                60                         <5
        EX-3                  10/12/1999                20                         <5
        EX-3                   4/26/2000                50                         <5
        EX-3                   11/7/2000                14                         <5
        EX-3                   4/26/2001                30                         <5
        EX-3                  10/10/2001                31                         <5
        EX-3                   4/30/2002                68                         <5
        EX-3                   8/20/2002                30                         <3
        EX-3                   2/25/2003                50                         <1
        EX-3                    9/2/2003                40                         6.9
        EX-3                   2/19/2004                40                         <3
        EX-3                   8/25/2004                40                         <3
        EX-3                   3/27/2007                26                       .92 J
        EX-3               3/27/2007 (dup)              27                       1.1 J
        EX-3                   9/13/2007                22                       .94 J
        EX-3               9/13/2007 (dup)              35                       1.2 J
        EX-3                   4/24/2008                23                         <2
        EX-3                 4/24/08 (dup)              23                         <2
        EX-3                   11/6/2008                17                         <5
        EX-3                   4/29/2009                22                        <1.9
        EX-3                   11/5/2009                18                       8.3 J
        EX-3                   4/22/2010              5.9 J                      3.6 J
        EX-3                  10/13/2010              6.2 J                       ND
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                        CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                          (µg/l)
                                                    MCL: 10 µg/l                    MCL: 10 µg/l
        EX-3                 5/11/2011                 ND                              ND
        EX-3                10/25/2011                4.0 J                           3.7 J
        EX-3                 6/14/2012                5.3 J                            <10
        EX-3                 3/18/2013                 3.5                            3.5 J
        EX-3                 8/19/2013                             Well Abandoned
        EX-4                 5/25/1993                   98                               6
        EX-4                  7/7/1993                  130                              <5
        EX-4                  4/6/1995                  160                              <2
        EX-4                10/26/1995                   70                              <2
        EX-4                  5/2/1996                  110                              <2
        EX-4                10/30/1996                   70                              <2
        EX-4                 4/23/1997                   80                              <2
        EX-4                10/23/1997                   50                               2
        EX-4                 5/21/1998                   50                              <5
        EX-4                10/22/1998                   50                              <5
        EX-4                 4/28/1999                   50                              <5
        EX-4                10/12/1999                   30                              <5
        EX-4                 4/26/2000                   40                              <5
        EX-4                 11/7/2000                   55                              <5
        EX-4                 4/26/2001                   30                              <5
        EX-4                10/10/2001                   34                              <5
        EX-4                 4/30/2002                   21                              5.3
        EX-4                 8/20/2002                   40                              <3
        EX-4                 2/25/2003                   10                              <1
        EX-4                  9/2/2003                   20                              <5
        EX-4                 2/19/2004                   30                              <3
        EX-4                 3/27/2007                  2.2                              <2
        EX-4                 9/13/2007                 1.3 J                            1.5 J
        EX-4                 4/24/2008                  2.5                            0.86 J
        EX-4                 11/6/2008                  <10                              <5
        EX-4                 8/19/2013                             Well Abandoned
        EX-5                 5/25/1993                  230                             <5
        EX-5                  7/7/1993                  150                             <5
        EX-5                 4/11/1994                  290                             <2
        EX-5                 11/9/1994                  NA                              <2
        EX-5                12/16/1994                  630                             NA
        EX-5                  4/6/2005                  560                             <2
        EX-5                10/26/1995                  190                             <2
        EX-5                  5/2/1996                   80                             <2
        EX-5                10/30/1996                   70                             <2
        EX-5                 4/23/1997                  100                             <2
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                            DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        EX-5                  11/5/1997                90                              3
        EX-5                  5/21/1998                30                              <5
        EX-5                 10/22/1998                30                              <5
        EX-5                  4/30/1999                10                              <5
        EX-5                 10/13/1999                20                              <5
        EX-5                  4/26/2000                30                              <5
        EX-5                  11/7/2000                19                              <5
        EX-5                  4/26/2001                17                              <5
        EX-5                 10/10/2001                11                              <5
        EX-5                  4/30/2002                12                              <5
        EX-5                  8/20/2002                10                              <3
        EX-5                  2/25/2003                <10                             <1
        EX-5                   9/2/2003                10                             6.4
        EX-5                  2/19/2004                10                              <3
        EX-5                  8/25/2004                30                              <3
        EX-5                  3/27/2007                2.8                            1 J
        EX-5                  9/13/2007                <2                            .60 J
        EX-5                  4/24/2008                5.4                             <2
        EX-5                  11/6/2008                <10                             <5
        EX-5                  8/19/2013                           Well Abandoned
        EX-6                  5/25/1993                <10                             <5
        EX-6                   7/7/1993                 13                             <5
        EX-6               7/7/1993 (dup)               17                             <5
        EX-6                   4/4/1994                 70                             <2
        EX-6                 12/16/1994                170                             NA
        EX-6                   4/6/1995                160                             <2
        EX-6               4/6/1995 (dup)              160                              2
        EX-6                 10/26/1995                 80                              2
        EX-6                   5/2/1996                 70                             <2
        EX-6                 10/30/1996                 60                             <2
        EX-6                  4/23/1997                 60                             <2
        EX-6                  11/5/1997                 20                              5
        EX-6                  5/21/1998                 50                             <5
        EX-6                 10/21/1998                 50                             <5
        EX-6                  4/28/1999                <10                             <5
        EX-6                 10/12/1999                <10                             <5
        EX-6                  4/26/2000                <10                             <5
        EX-6                  11/4/2000                1.2                             <5
        EX-6                  4/26/2001                2.6                             <5
        EX-6                 10/10/2001                <10                             <5
        EX-6                  4/29/2002                <1                              <5
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                                                    TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                        147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                  DISSOLVED
     WELL                                       CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                      (µg/l)                          (µg/l)
                                                   MCL: 10 µg/l                    MCL: 10 µg/l
        EX-6                   8/20/2002              2.3                              <3
        EX-6                   2/25/2003              <10                              1
        EX-6                    9/2/2003              <10                              <1
        EX-6                   2/19/2004              <10                              <3
        EX-6                   8/25/2004               10                              <3
        EX-6                   3/27/2007              2.9                            1.2 J
        EX-6                   9/13/2007             1.8 J                           .84 J
        EX-6                   4/24/2008              2.5                            1.3 J
        EX-6                   11/7/2008              <10                              <5
        EX-6                   8/19/2013                          Well Abandoned
        EX-7                   5/25/1993                44                              <5
        EX-7                    7/7/1993                42                              <5
        EX-7                    4/6/1994               260                              <2
        EX-7                4/6/1994 (dup)             260                              <2
        EX-7                   11/9/1994               NA                               <2
        EX-7                  12/16/1994               260                              NA
        EX-7                    4/6/1995               200                              <2
        EX-7                  10/26/1995               170                              <2
        EX-7                    5/3/1996               130                              <2
        EX-7                5/3/1996 (dup)             130                              <2
        EX-7                  10/30/1996                60                              <2
        EX-7                   4/23/1997                80                              <2
        EX-7                  10/23/1997                70                               3
        EX-7                   5/21/1998                70                              <5
        EX-7               5/21/1998 (dup)              70                              <5
        EX-7                  10/22/1998                50                              <5
        EX-7                   4/28/1999               <10                              <5
        EX-7                  10/12/1999                20                              9.3
        EX-7                   4/26/2000                20                              <5
        EX-7                   11/7/2000                27                              <5
        EX-7                   4/26/2001                22                              <5
        EX-7                  10/10/2001                22                              <5
        EX-7                   4/30/2002               3.1                              <5
        EX-7                   8/20/2002               <10                              <3
        EX-7                   2/25/2003               <10                              <1
        EX-7                    9/2/2003                10                              <1
        EX-7                   2/19/2004               <10                              <3
        EX-7                   8/25/2004                10                              <3
        EX-7                   3/27/2007              1.1 J                            1.4 J
        EX-7                   9/13/2007               <2                             0.80 J
        EX-7                   4/24/2008              1.2 J                           0.85 J
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                        CHROMIUM (CrVI)                     ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                          (µg/l)
                                                    MCL: 10 µg/l                    MCL: 10 µg/l
       EX-7                  11/6/2008                5.8 J                           1.6 J
       EX-7                  8/19/2013                             Well Abandoned
      EX-18A                10/26/1995                  160                               8
      EX-18A                  5/2/1996                  340                              <2
      EX-18A                10/30/1996                  220                              <2
      EX-18A                 5/20/1997                  300                               6
      EX-18A                10/23/1997                  300                              <2
      EX-18A                 5/21/1998                  240                              <5
      EX-18A                10/22/1998                  250                              <5
      EX-18A                 4/30/1999                  320                              <5
      EX-18A                10/12/1999                  360                              <5
      EX-18A                 4/26/2000                  270                              <5
      EX-18A                 11/7/2000                  290                              <5
      EX-18A                 4/26/2001                  210                              <5
      EX-18A                10/10/2001                  200                              <5
      EX-18A                 4/30/2002                  170                              <5
      EX-18A                 8/21/2002                  220                              <3
      EX-18A                 2/27/2003                   70                              <5
      EX-18A                  9/2/2003                  110                              <1
      EX-18A                 2/24/2004                   20                              <3
      EX-18A                 8/25/2004                   90                              <3
      EX-18A                 3/27/2007                   65                             1.1 J
      EX-18A                 9/13/2007                   62                             1.4 J
      EX-18A                 4/24/2008                   57                            0.90 J
      EX-18A                 11/6/2008                   36                             2.4 J
       RW                    3/21/2007                  4.4                              <2
       RW                    9/12/2007                  4.6                             1.2 J
       RW                    4/24/2008                  5.5                             1.5 J
       RW                    11/7/2008                  <10                              <5
       RW                    4/30/2009                 5.9 J                            <1.9
       RW                    11/6/2009                 3.8 J                            5.1 J
       RW                    2/10/2010                 4.4 J                            3.3 J
       RW                    4/23/2010                 4.2 J                             <10
       RW                   10/13/2010                 5.7 J                             ND
       RW                    2/22/2011                 4.3 J                             <10
       RW                    5/11/2011                 5.0 J                            2.8 J
       RW                    8/23/2011                 6.3 J                             <10
       RW                   10/25/2011                 6.4 J                            2.6 J
       RW                    4/27/2012                  <10                              <10
       RW                    6/14/2012                 5.3 J                            4.0 J
       RW                    8/28/2012                  <10                              <10
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                                                     TABLE 2
                           HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                        WICKES FOREST INDUSTRIES
                                         147 A STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                             DISSOLVED HEXAVALENT                    DISSOLVED
     WELL                                        CHROMIUM (CrVI)                      ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                       (µg/l)                             (µg/l)
                                                    MCL: 10 µg/l                     MCL: 10 µg/l
        RW                   12/4/2012                 NS                                 NS
        RW                   4/27/2013                 NS                                 NS
        RW                    9/6/2013                 NS                                 NS
        RW                                                         Pump Not Operational
       RH-A                  3/22/2007                   4.5                               <2
       RH-A                  9/12/2007                   4.1                            0.49 J
       RH-A                  4/24/2008                    5                                <2
       RH-A                  11/7/2008                  3.5 J                              <5
       RH-A                  4/30/2009                  5.9 J                             <1.8
       RH-A                  11/6/2009                  <3.7                             4.1 J
       RH-A                  2/10/2010                  <3.7                             3.4 J
       RH-A                  4/22/2010                  4.6 J                             <10
       RH-A                  7/28/2010                  5.2 J                            2.7 J
       RH-A                 10/13/2010                  8.2 J                             ND
       RH-A                  2/22/2011                  5.5 J                             <10
       RH-A                  5/11/2011                  4.6 J                             ND
       RH-A                  8/23/2011                  6.3 J                            1.9 J
       RH-A                 10/25/2011                   <10                             4.0 J
       RH-A                   4/5/2012                   <10                              <10
       RH-A                  6/12/2012                  7.3 J                             <10
       RH-A                  8/28/2012                   <10                             2.9 J
       RH-A                  12/4/2012                   4.2                            4.9 JB
       RH-A                  3/21/2013                   4.5                            1.8 JB
       RH-A                   9/5/2013                  4.3 B                             NA
       RH-A                 12/26/2013                   4.4                               1.2
       RH-A                  3/20/2014                   4.2                               1.2
       RH-A                  6/12/2014                   4.7                               1.0
       RH-A                  9/24/2014                   4.2                                1
       RH-A                 12/22/2014                   3.1                            0.90 J
       RH-A                  3/10/2015                   4.3                            0.87 J
       RH-A                   6/3/2015                   4.8                            0.82 J
       RH-A                  9/22/2015                   2.9                              <2.0
       RH-A                  12/9/2016                   2.7                               2.1
       RH-A                  3/30/2016                   3.7                              <2.0
       MP-1                  11/7/2008                   <10                               <5
       MP-2                  3/21/2007                    2                                <2
       MP-2                  9/12/2007                    3                                <2
       MP-2                  4/24/2008                 0.83 J                              <2
       MP-2                  11/7/2008                   <10                               <5
       MP-2                  4/30/2009                  <3.0                              <1.9
       MP-2                  11/6/2009                  <3.7                             4.8 J
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                                                                TABLE 2
                             HISTORICAL GROUNDWATER ANALYTICAL DATA 1989 to 2016
                                          WICKES FOREST INDUSTRIES
                                              147 A STREET, ELMIRA, CALIFORNIA
                           CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                                     DISSOLVED HEXAVALENT                                  DISSOLVED
     WELL                                                 CHROMIUM (CrVI)                                    ARSENIC
                           DATE SAMPLED
 IDENTIFICATION                                                  (µg/l)                                 (µg/l)
                                                               MCL: 10 µg/l                        MCL: 10 µg/l
          MP-2                   2/10/2010                        <3.7                                   <1.5
          MP-2                   4/23/2010                         <10                                 1.7 JB
          MP-2                  10/13/2010                        5.4 J                                  ND
          MP-2                   2/22/2011                         <10                                   <10
          MP-2                   5/11/2011                         ND                                   2.8 J
          MP-2                   8/23/2011                         <10                                  2.1 J
          MP-2                  10/26/2011                         <10                                   <10
          MP-2                   4/27/2012                         <10                                   <10
          MP-2                   6/14/2012                         <10                                   <10
          MP-2                   8/28/2012                         <10                                  3.0 J
          MP-2                   12/6/2012                         1.2                                   <10
          MP-2                    6/6/2013                         ND                                    NA
          MP-2                    9/5/2013                       <0.50                                   NA
          MP-2                  12/26/2013                       0.36 J                                  <1.0
          MP-2                   3/20/2014                        <0.5                                   <1.0
          MP-2                   6/12/2014                         2.7                                   <1.0
          MP-2                   9/24/2014                         1.8                                   <1.0
          MP-2                    3/1/2015                                       Pump Not Operational?
          MP-2                   9/22/2015                           1.6                                 <2.0
          MP-2                   12/9/2016                          <1.0                                 <2.0
          MP-2                    3/30/216                          <1.0                                 <2.0




Notes:

* December 2012 result for EX-2 not shown because well box was partially flooded and reported Cr(VI) concentration was below reporting
limits. Sample appeared to represent rain water rather than groundwater.
< = Less than laboratory reporting limit
µg/l = micrograms per liter (parts per billion)
B = Flagged by the lab. Compound was found in the blank sample.


J = Flagged by the lab. Estimated value. Result falls between the practical quantitation limit (PQL) and the method detection limit (MDL).
(U) = Flagged during data review. Result considered not-detected due to blank contamination.
(dup) = duplicate sample
MCL = Maximum Contaminant Level for drinking water established by EPA.
NA = not analyzed
ND = not detected above the MDL.
NR = not reported
NS = not sampled
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                                         APPENDIX                          A
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Sample Date    CrVI
12/5/2011       6.2                                                                  CrVI Concentration v. Time
6/11/2012       8.9
12/4/2012       12                                                                              E-4
3/19/2013       14                                                  16
9/5/2013        11
                                                                    14                                               y = -0.004x + 174.11
3/17/2014       11
                                                                                                                          R² = 0.3387

                                        CrVI Concentration (mg/l)
9/23/2014       6.8
3/12/2015       6.9                                                 12
9/22/2015       3.2
3/30/2016       3.8                                                 10

                                                                      8

                                                                      6

                                                                      4

                                                                      2

                                                                      0
                                                                    11/18/2010   4/1/2012   8/14/2013   12/27/2014      5/10/2016      9/22/2017

                                                                                                    Time




Sample Date   Arsenic
12/5/2011       3.7                                                                 Arsenic Concetration v. Time
6/11/2012        5
12/4/2012        5                                                                              E-4
3/19/2013        5                                                    6
9/22/2015       2.9
3/30/2016       3.0                                                                                                  y = -0.0012x + 51.979
                               Arsenic Concentration (mg/l)




                                                                      5
                                                                                                                           R² = 0.5449
                                                                      4

                                                                      3

                                                                      2

                                                                      1

                                                                      0
                                                                    11/18/2010   4/1/2012   8/14/2013   12/27/2014      5/10/2016      9/22/2017
                                                                                                    Time
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Sample Date    CrVI
12/5/2011       30                                                                    CrVI Concentration v. Time
4/5/2012        39
6/11/2012       40                                                                               E-5
8/28/2012       33                                                  50
12/3/2012       39
                                                                                                                     y = -0.0132x + 578.47
3/19/2013       35



                                        CrVI Concentration (mg/l)
9/5/2013        33                                                  40                                                     R² = 0.7692
3/17/2014       28
9/22/2014       25
3/12/2015       26
                                                                    30
9/22/2015       17
3/30/2016       17
                                                                    20


                                                                    10


                                                                      0
                                                                    11/18/2010   4/1/2012   8/14/2013   12/27/2014      5/10/2016      9/22/2017
                                                                                                    Time




Sample Date   Arsenic
12/5/2011       6.9                                                                 Arsenic Concentration v. Time
4/5/2012        4.3
6/11/2012        5                                                                              E-5
8/28/2012        5                                                    8
12/3/2012        5
                                                                      7                                              y = -0.0034x + 146.46
3/19/2013        5
                              Arsenic Concentration (mg/l)




9/22/2014       1.7
                                                                                                                           R² = 0.8923
9/22/2015        1                                                    6
3/30/2016        1
                                                                      5

                                                                      4

                                                                      3

                                                                      2

                                                                      1

                                                                      0
                                                                    11/18/2010   4/1/2012   8/14/2013   12/27/2014      5/10/2016      9/22/2017

                                                                                                    Time
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Sample Date    CrVI
4/5/2012
6/14/2012
                260
                170
                                                                                            CrVI Concentration v. Time
8/28/2012       100                                                                                   E-6A
12/4/2012       83                                                       300
3/21/2013       82
9/5/2013        55                                                                                                             y = -0.0544x + 2374.1
                89
                                                                         250                                                         R² = 0.2315


                              CrVI Concentration (mg/l)
3/17/2014
9/23/2014       88
3/12/2015       100                                                      200
9/22/2015       89
3/30/2016       93
                                                                         150

                                                                         100

                                                                         50

                                                                           0
                                                                         11/18/2010    4/1/2012     8/14/2013     12/27/2014      5/10/2016      9/22/2017
                                                                                                              Time




Sample Date   Arsenic
6/14/2012       10                                                                       Arsenic Concentration v. Time
8/28/2012        6
12/4/2012       14                                                                                   E-6A
3/21/2013       13                                                        16
9/5/2013        14
3/17/2014       13                                                        14
                                          Arsenic Concentration (mg/l)




9/23/2014       11
3/12/2015       11                                                        12
9/22/2015       13
3/30/2016        8                                                        10

                                                                           8

                                                                           6

                                                                           4
                                                                                                                                         y = -0.0001x + 17.113
                                                                           2                                                                   R² = 0.0007

                                                                           0
                                                                          4/1/201210/18/20125/6/201311/22/2013
                                                                                                             6/10/2014
                                                                                                                     12/27/2014
                                                                                                                              7/15/20151/31/20168/18/2016

                                                                                                              Time
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Sample Date    CrVI
4/5/2012        750                                                                         CrVI Concentration v. Time
6/14/2012       570
8/28/2012       320                                                                                   E-6B
12/4/2012       540                                                       1000
3/21/2013       580
9/5/2013        640



                             CrVI Concentration v. Time
3/17/2014       820                                                       800
9/23/2014       710
3/12/2015       860
9/22/2015       690                                                       600
3/30/2016       820

                                                                          400


                                                                          200                                               y = 0.1953x - 7462.2
                                                                                                                                 R² = 0.3915
                                                                             0
                                                                           11/18/2010   4/1/2012   8/14/2013   12/27/2014      5/10/2016      9/22/2017
                                                                                                           Time




Sample Date   Arsenic
4/5/2012        5.2                                                                       Arsenic Concentration v. Time
6/14/2012       4.9
8/28/2012        4                                                                                    E-6B
12/4/2012       5.0                                                        7.0
3/21/2013       5.8
9/5/2013        4.9                                                        6.0                                              y = -0.0029x + 124.85
                                           Arsenic Concentration (mg/l)




3/17/2014       1.5                                                                                                               R² = 0.6997
9/23/2014       2.2                                                        5.0
3/12/2015       1.6
9/22/2015       2.9
                                                                           4.0
3/30/2016       1.0

                                                                           3.0

                                                                           2.0

                                                                           1.0

                                                                           0.0
                                                                           11/18/2010   4/1/2012   8/14/2013   12/27/2014      5/10/2016      9/22/2017

                                                                                                           Time
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Sample Date   CrVI
3/20/2014      1.0          Chromium (CrVI)                                 CrVI Concentration v. Time
3/12/2015     0.98
3/30/2016     0.50                                                                     E-7
                                                          1.2
                                                                                                              y = -0.0007x + 29.528
                                                          1.0                                                       R² = 0.7971


                              CrVI Concentration (mg/l)
                                                          0.8

                                                          0.6

                                                          0.4

                                                          0.2

                                                          0.0
                                                          11/22/2013   6/10/2014   12/27/2014     7/15/2015      1/31/2016      8/18/2016

                                                                                           Time
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Sample Date     CrVI
12/5/2011         5                                                            CrVI Concentration v. Time
6/11/2012         5
12/6/2012       0.58                                                                     E-15
3/21/2013        1.7                                           6
9/5/2013         2.5
3/18/2014        1.0                                                                                         y = -0.0025x + 105.53
                                                               5


                                CrVI Concentration (mg/l)
9/24/2014        2.3                                                                                               R² = 0.5048
3/13/2015       0.72
3/30/2016       0.50                                           4

                                                               3

                                                               2

                                                               1

                                                               0
                                                             11/18/2010   4/1/2012      8/14/2013   12/27/2014      5/10/2016      9/22/2017
                                                                                                Time




Sample Date    Arsenic
12/5/2011         5                                                          Arsenic Concentration v. Time
6/11/2012         5
12/6/2012         5                                                                      E-15
3/21/2013        3.9                                          6
9/5/2013        NA
3/18/2014       NA
                              Arsenic Concentration (mg/l)




9/24/2014       NA
                                                              5
3/13/2015       NA
3/30/2016       NA                                            4

                                                              3

                                                              2
NA = Not analyzed
                                                                                                                 y = -0.0018x + 80.148
                                                              1                                                        R² = 0.4778

                                                               0
                                                             9/14/2011      2/11/2012         7/10/2012          12/7/2012           5/6/2013

                                                                                                Time
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Sample Date    CrVI
6/14/2012       25                                                                          CrVI Concentration v. Time
12/6/2012       8.8
3/18/2013       22                                                                                 E-18/E-18A
9/5/2013        26                                                       30
3/18/2014       25
                                                                                                                                       y = -0.0015x + 82.808
9/24/2014       22
                                                                         25                                                                  R² = 0.0166


                              CrVI Concentration (mg/l)
3/10/2015       21
9/22/2015       15
3/29/2016       19                                                       20

                                                                         15

                                                                         10

                                                                          5

                                                                          0
                                                                         4/1/201210/18/20125/6/201311/22/2013
                                                                                                            6/10/2014
                                                                                                                    12/27/2014
                                                                                                                             7/15/20151/31/20168/18/2016
                                                                                                             Time




Sample Date   Arsenic
                                                                                          Arsenic Concentration v. Time
6/14/2012       5
12/6/2012       5                                                                                  E-18/E-18A
3/18/2013      3.9                                                        6
3/18/2014      0.55
9/24/2014      0.5                                                                                                                     y = -0.0035x + 148.82
                                                                          5
                                           Arsenic Concentration (mg/)




3/10/2015      0.5
                                                                                                                                             R² = 0.7272
9/22/2015       1
3/29/2016       1                                                         4

                                                                          3

                                                                          2

                                                                          1

                                                                          0
                                                                         4/1/201210/18/20125/6/201311/22/2013
                                                                                                            6/10/2014
                                                                                                                    12/27/2014
                                                                                                                             7/15/20151/31/20168/18/2016
                                                                                                             Time
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Sample Date    CrVI
6/12/2012        5                                                                CrVI Concentration v. Time
8/28/2012        5
12/6/2012       0.25                                                                        E-19
3/18/2013      0.086                                           6
9/4/2013        0.25
3/18/2014       0.25                                                                                                         y = -0.0023x + 98.666
9/24/2014       0.25
                                                               5


                               CrVI Concentration (mg/l)
                                                                                                                                   R² = 0.327
3/10/2015       0.25
9/22/2015       0.5                                            4
3/29/2016       0.5

                                                               3

                                                               2

                                                               1

                                                               0
                                                              4/1/201210/18/20125/6/201311/22/2013
                                                                                                 6/10/2014
                                                                                                         12/27/2014
                                                                                                                  7/15/20151/31/20168/18/2016

                                                                                                  Time




Sample Date   Arsenic
8/28/2012        5                                                              Arsenic Concentration v. Time
12/6/2012        5
3/18/2013       3.6                                                                         E-19
3/18/2014      0.99                                           6
9/24/2014      0.51
3/10/2015      0.91                                                                                               y = -0.0035x + 146.59
                               Arsenic Concentration (mg/l)




9/22/2015        1
                                                              5
                                                                                                                        R² = 0.7522
3/29/2016        1
                                                              4

                                                              3

                                                              2

                                                              1

                                                               0
                                                              1/1/2012        5/15/2013         9/27/2014         2/9/2016          6/23/2017

                                                                                                  Time
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Sample Date    CrVI
4/5/2012        46                                                                    CrVI Concentration v. Time
6/12/2012       43
8/28/2012       33                                                                              E-20
12/4/2012       37                                                     60
3/18/2013       39
9/4/2013        42
                                                                                                                               y = -0.0181x + 789.64
                                                                       50                                                            R² = 0.3773


                                       CrVI Concentration (mg/l)
3/17/2014       42
6/12/2014       35
9/22/2014       54                                                     40
12/22/2014      38
3/10/2015       32
6/3/2015        30
                                                                       30
9/22/2015       0.5
12/9/2015       4.8                                                    20
3/29/2016       24

                                                                       10

                                                                      0
                                                                    9/14/2011
                                                                            4/1/2012
                                                                                  10/18/2012
                                                                                          5/6/2013
                                                                                                11/22/2013
                                                                                                        6/10/2014
                                                                                                               12/27/2014
                                                                                                                       7/15/2015
                                                                                                                              1/31/2016
                                                                                                                                     8/18/2016

                                                                                                      Time




Sample Date   Arsenic
                                                                                    Arsenic Concentration v. Time
4/5/2012       3.2
6/12/2012        5                                                                              E-20
8/28/2012       5                                                  6
12/4/2012        5
3/18/2013      4.1                                                                                                   y = -0.0044x + 186.3
                              Arsenic Concentration (mg/l)




                                                                   5
3/17/2014      0.5                                                                                                        R² = 0.8089
6/12/2014      0.5
9/22/2014      0.57                                                4
12/22/2014     0.5
3/10/2015      0.53
6/3/2015       0.5                                                 3
12/9/2015      NA
3/29/2016      NA                                                  2

                                                                   1

                                                                    0
                                                                   1/1/2012       5/15/2013        9/27/2014        2/9/2016           6/23/2017

                                                                                                     Time
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Sample Date    CrVI
4/5/2012         5                                                                      CrVI Concentration v. Time
6/12/2012       12
8/28/2012       15                                                                                E-21
12/4/2012       48                                                   140
3/18/2013       77
                                                                                                                       y = -0.0631x + 2716.3
9/4/2013        120                                                  120
                130
                                                                                                                             R² = 0.276

                             CrVI Concentration (mg/l)
12/26/2013
3/17/2014       98                                                   100
6/12/2014       91
9/22/2014       100
12/22/2014      120
                                                                      80
3/10/2015       88
6/3/2015        90                                                    60
9/22/2015       5.9
12/9/2015       3.8                                                   40
3/29/2016       0.5
                                                                      20

                                                                       0
                                                                      1/1/2012        5/15/2013         9/27/2014     2/9/2016          6/23/2017
                                                                                                          Time




Sample Date   Arsenic
4/5/2012        6.4                                                                   Arsenic Concentration v. Time
6/12/2012        5
8/28/2012       2.9                                                                               E-21
12/4/2012       1.8                                                   7
3/18/2013       3.8
9/4/2013        2.2                                                   6
                                      Arsenic Concentration (mg/l)




12/26/2013     0.98
3/17/2014      0.89                                                   5
6/12/2014      0.74
9/22/2014      0.89
                                                                      4
12/22/2014      1.8
3/10/2015       1.5
6/3/2015        1.1                                                   3
9/22/2015       4.1
12/9/2015       6.0                                                   2
3/29/2016       3.0
                                                                      1               y = -0.0008x + 37.514
                                                                                            R² = 0.0443
                                                                       0
                                                                     9/14/2011
                                                                             4/1/2012
                                                                                   10/18/2012
                                                                                           5/6/2013
                                                                                                 11/22/2013
                                                                                                         6/10/2014
                                                                                                                12/27/2014
                                                                                                                        7/15/2015
                                                                                                                               1/31/2016
                                                                                                                                      8/18/2016
                                                                                                          Time
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Sample Date    CrVI
  6/12/2012      5                                                                     CrVI Concentration v. Time
  8/28/2012      5
  12/4/2012    0.34                                                                              E-22
  3/18/2013     3.9                                                 6
  9/4/2013     0.75
  3/17/2014     3.7
                                                                    5                                                             y = -0.001x + 43.602
                1.9



                               CrVI Concentration (mg/l)
  9/22/2014                                                                                                                            R² = 0.0685
  3/10/2015     2.4
  9/22/2015     4.7                                                 4
  3/29/2016     1.0

                                                                    3

                                                                    2

                                                                    1

                                                                    0
                                                                   4/1/201210/18/20125/6/201311/22/2013
                                                                                                      6/10/2014
                                                                                                              12/27/2014
                                                                                                                       7/15/20151/31/20168/18/2016
                                                                                                       Time




Sample Date   Arsenic
  6/12/2012      5                                                                   Arsenic Concentration v. Time
  8/28/2012     1.9
  12/4/2012      5                                                                               E-22
  3/18/2013     4.4                                                 6
  3/17/2014     1.4
  9/22/2014     2.0                                                                                                              y = -0.0026x + 112.56
                                                                    5
                                    Arsenic Concentration (mg/l)




  3/10/2015     1.4                                                                                                                    R² = 0.6204
  9/22/2015     1.0
  3/29/2016     1.0                                                 4

                                                                    3

                                                                    2

                                                                    1

                                                                    0
                                                                   4/1/201210/18/20125/6/201311/22/2013
                                                                                                      6/10/2014
                                                                                                              12/27/2014
                                                                                                                       7/15/20151/31/20168/18/2016

                                                                                                        Time
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Sample Date    CrVI
4/5/2012
6/14/2012
                25
                33
                                                                                          CrVI Concentration v. Time
8/28/2012       62                                                                                  E-23
12/4/2012       23                                                      70
3/19/2013       27
                                                                                                                        y = -0.0192x + 824.88
9/4/2013        36                                                      60
3/18/2014       14                                                                                                            R² = 0.4027


                              CrVI Concentration (mg/l)
6/12/2014       15
                                                                        50
9/23/2014       32
12/22/2014      13
3/12/2015       12                                                      40
6/3/2015        11
9/22/2015       25                                                      30
3/30/2016       6.0
                                                                        20

                                                                        10

                                                                      0
                                                                    11/18/2010       4/1/2012   8/14/2013      12/27/2014      5/10/2016      9/22/2017
                                                                                                        Time




Sample Date   Arsenic
                                                                                        Arsenic Concentration v. Time
4/5/2012        2.1
6/14/2012        5                                                                                  E-23
8/28/2012        5                                                        6
12/4/2012        5
3/19/2013       3.9                                                                                                         y = -0.0028x + 117.81
                                                                          5
                                         Arsenic Concentration (mg/l)




3/18/2014       1.4                                                                                                               R² = 0.6447
6/12/2014       1.1
9/23/2014       1.0                                                       4
12/22/2014      1.5
3/12/2015       1.2
6/3/2015        1.4                                                       3
9/22/2015       1.0
3/30/2016       1.0                                                       2

                                                                          1

                                                                          0
                                                                        11/18/2010   4/1/2012   8/14/2013      12/27/2014      5/10/2016      9/22/2017

                                                                                                            Time
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Sample Date    CrVI
12/5/2011        5                                                                           CrVI Concentration v. Time
6/12/2012       7.3
12/6/2012      0.77                                                                                    E-25
3/21/2013       11                                                       16
9/6/2013        13
12/26/2013      14                                                       14                                                                y = -0.0016x + 74.512


                              CrVI Concentration (mg/l)
3/18/2014       7.7                                                                                                                              R² = 0.0235
6/12/2014       13                                                       12
9/23/2014       11
12/22/2014      9.8                                                      10
3/12/2015       8.0
6/3/2015       10.0                                                       8
9/22/2015       6.7
3/29/2016       0.5
                                                                          6

                                                                          4

                                                                          2

                                                                          0
                                                                         4/1/201210/18/20125/6/201311/22/2013
                                                                                                            6/10/2014
                                                                                                                    12/27/2014
                                                                                                                             7/15/20151/31/20168/18/2016

                                                                                                             Time




Sample Date   Arsenic
                                                                                           Arsenic Concentration v. Time
12/5/2011       5
6/12/2012        5                                                                                     E-25
12/6/2012      2.8                                                         7
3/21/2013        6
12/26/2013     0.75                                                                                                              y = -0.0028x + 120.39
                                                                           6
                                          Arsenic Concentration (mg/l)




3/18/2014      1.1                                                                                                                     R² = 0.4704
6/12/2014      0.6
                                                                           5
9/23/2014      0.62
12/22/2014     1.4
3/12/2015      0.52                                                        4
6/3/2015       0.5
9/22/2015      1.0                                                         3
3/29/2016      2.9
                                                                           2

                                                                           1

                                                                           0
                                                                         11/18/2010    4/1/2012     8/14/2013       12/27/2014      5/10/2016      9/22/2017
                                                                                                             Time
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Sample Date    CrVI
12/5/2011       170
4/5/2012        39                                                             CrVI Concentration v. Time
6/11/2012       41
8/28/2012       150
                                                                                         E-28
12/3/2012       200                                          250
3/21/2013       31                                                                                            y = -0.0385x + 1697.4


                              CrVI Concentration (mg/l)
9/5/2013        150
3/18/2014       83                                           200                                                    R² = 0.0777
9/22/2014       210
3/12/2015       13
9/22/2015       77
                                                             150
3/30/2016       26
                                                             100


                                                              50


                                                               0
                                                             11/18/2010   4/1/2012   8/14/2013   12/27/2014    5/10/2016      9/22/2017
                                                                                             Time




Sample Date   Arsenic
12/5/2011       89                                                           Arsenic Concentration v. Time
4/5/2012       110
6/11/2012      120                                                                       E-28
8/28/2012       98                                           140
12/3/2012      130
                                                             120
                              Arsenic Concentration (mg/l)




3/21/2013       81
9/5/2013        86
3/18/2014      120                                           100
9/22/2014       99
3/12/2015       96                                           80
9/22/2015      130
3/30/2016      130                                           60

                                                             40
                                                                                                              y = 0.0123x - 404.66
                                                             20
                                                                                                                   R² = 0.1268
                                                               0
                                                             11/18/2010   4/1/2012   8/14/2013   12/27/2014    5/10/2016      9/22/2017

                                                                                             Time
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Sample Date    CrVI
4/5/2012        230                                                                   CrVI Concentration v. Time
6/11/2012       840
8/28/2012      1,100                                                                            E-30A
12/6/2012       510                                                   1200
3/21/2013       320
                                                                                                              y = -0.2349x + 10266
9/5/2013        590                                                   1000                                         R² = 0.1876

                             CrVI Concentration (mg/l)
3/18/2014       380
9/23/2014       370
3/13/2015       240                                                   800
9/22/2015       560
3/30/2016       260
                                                                      600

                                                                      400

                                                                      200

                                                                         0
                                                                        1/1/2012    5/15/2013    9/27/2014    2/9/2016          6/23/2017

                                                                                                   Time




Sample Date   Arsenic
4/5/2012        4.3                                                                 Arsenic Concentration v. Time
6/11/2012
8/28/2012
                3.6
                6.6
                                                                                               E-30A
12/6/2012       6.2
                                                                        7.0
3/21/2013       6.3
9/5/2013        4.2                                                     6.0
                                       Arsenic Concentration (mg/l)




3/18/2014       3.0
9/23/2014       3.1                                                     5.0
3/13/2015       3.5
9/22/2015       5.6                                                     4.0
3/30/2016       3.9

                                                                        3.0

                                                                        2.0

                                                                        1.0                                  y = -0.0009x + 41.167
                                                                                                                   R² = 0.1081
                                                                        0.0
                                                                         1/1/2012   5/15/2013    9/27/2014     2/9/2016         6/23/2017
                                                                                                   Time
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Sample Date   CrVI
3/17/2014      9.8                                                              CrVI Concentration v. Time
3/10/2015     0.25
3/24/2014     0.25                                                                        E-31
3/29/2016      11                                         12
                                                                     y = 0.0063x - 260.58
                                                          10              R² = 0.1443


                               CrVI Concentration (mg/)
                                                           8

                                                           6

                                                           4

                                                           2

                                                           0
                                                          1/1/2012           5/15/2013      9/27/2014   2/9/2016   6/23/2017
                                                                                              Time
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Former Wickes Forest Industries Facility


Sample Date    CrVI
6/12/2012        5
12/4/2012       5.1                                                                         CrVI Concentration v. Time
3/18/2013       1.7
9/4/2013        7.7                                                                                   E-32
3/17/2014       15                                                           30
9/22/2014       12
                                                                                                                         y = 0.0071x - 286.26
3/12/2015       24                                                           25
                                                                                                                              R² = 0.1984

                              CrVI Concentration (mg/l)
9/22/2015       0.5
3/29/2016       15
                                                                             20

                                                                             15

                                                                             10

                                                                                     5

                                                                               0
                                                                              1/1/2012   5/15/2013    9/27/2014     2/9/2016            6/23/2017

                                                                                                        Time




Sample Date   Arsenic
6/12/2012        5                                                                        Arsenic Concentration v. Time
12/4/2012        5
3/18/2013       4.5                                                                                   E-32
3/17/2014       1.8                                                                  6
9/22/2014      0.87
3/12/2015       1.3
                                                                                                                    y = -0.0028x + 120.56
                                                                                     5
                                                      Arsenic Concentration (mg/l)




9/22/2015       3.4                                                                                                       R² = 0.609
3/29/2016       1.0
                                                                                     4

                                                                                     3

                                                                                     2

                                                                                     1

                                                                              0
                                                                             1/1/2012    5/15/2013    9/27/2014     2/9/2016            6/23/2017

                                                                                                        Time
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Former Wickes Forest Industries Facility


Sample Date    CrVI
6/12/2012        5                                                                CrVI Concentration v. Time
12/4/2012       0.42
3/18/2013      0.076                                                                        E-36
9/4/2013        0.45                                                 6
3/17/2014       0.43
9/22/2014       0.78                                                                                     y = -0.0015x + 65.132
                                                                     5


                              CrVI Concentration (mg/l)
3/10/2015       0.25                                                                                           R² = 0.2284
9/22/2015       0.5
3/30/2016       0.5                                                  4

                                                                     3

                                                                     2

                                                                     1

                                                                      0
                                                                     1/1/2012   5/15/2013   9/27/2014     2/9/2016          6/23/2017
                                                                                              Time




Sample Date   Arsenic
6/12/2012
12/4/2012
                 5
                 5
                                                                                Arsenic Concentration v. Time
3/18/2013       3.3                                                                         E-36
3/17/2014      0.97                                                   6
9/22/2014      0.99
3/10/2015      0.99                                                                                     y = -0.0033x + 138.03
                                      Arsenic Concentration (mg/l)




9/22/2015        1                                                    5
3/30/2016        1
                                                                                                              R² = 0.7751
                                                                      4

                                                                      3

                                                                      2

                                                                      1

                                                                      0
                                                                     1/1/2012   5/15/2013   9/27/2014     2/9/2016          6/23/2017
                                                                                              Time
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Former Wickes Forest Industries Facility


Sample Date    CrVI
4/27/2012        5                                                          CrVI Concentration v. Time
6/14/2012        5
8/28/2012        5                                                                    MP-2
12/6/2012       1.2
9/5/2013       0.25
                                                                6
12/26/2013     0.36
                                                                                                   y = -0.0026x + 109.5
3/20/2014      0.25                                             5


                                   CrVI Concentration (mg/l)
6/12/2014       2.7                                                                                     R² = 0.4401
9/24/2014       1.8
                1.6
                                                                4
9/22/2015
12/9/2015       0.5
3/30/2016       0.5                                             3

                                                                2

                                                                1

                                                                0
                                                               1/1/2012   5/15/2013    9/27/2014    2/9/2016          6/23/2017
                                                                                         Time




Sample Date   Arsenic
4/27/2012
6/14/2012
                 5
                 5
                                                                          Arsenic Concentration v. Time
8/28/2012        3                                                                   MP-2
12/6/2012        5
12/26/2013      0.5                                            6
3/20/2014       0.5
6/12/2014       0.5                                                                                 y = -0.003x + 126.82
                               Arsenic Concentration (mg/l)




                                                               5                                         R² = 0.6119
9/24/2014       0.5
9/22/2015       1.0
12/9/2015       1.0                                            4
3/30/2016       1.0
                                                               3

                                                               2

                                                               1

                                                                0
                                                               1/1/2012   5/15/2013    9/27/2014    2/9/2016          6/23/2017

                                                                                         Time
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Former Wickes Forest Industries Facility


Sample Date    CrVI
4/5/2012
6/12/2012
                 5
                7.3
                                                                                   CrVI Concentration v. Time
8/28/2012        5                                                                           RH-A
12/4/2012       4.2
3/21/2013       4.5                                                  8
9/5/2013        4.3
12/26/2013      4.4                                                  7                                     y = -0.0015x + 66.197

                              CrVI Concentration (mg/l)
3/20/2014       4.2                                                                                              R² = 0.5118
                                                                     6
6/12/2014       4.7
9/24/2014       4.2                                                  5
12/22/2014      3.1
3/10/2015       4.3                                                  4
6/3/2015        4.8
9/22/2015       2.9                                                  3
12/9/2016       2.7
3/30/2016       3.7                                                  2
                                                                     1
                                                                      0
                                                                     1/1/2012   5/15/2013    9/27/2014     2/9/2016         6/23/2017
                                                                                               Time




Sample Date   Arsenic
4/5/2012
6/12/2012
                 5
                 5
                                                                                 Arsenic Concentration v. Time
8/28/2012       2.9                                                                          RH-A
12/4/2012       4.9
3/21/2013       1.8                                                   6
12/26/2013      1.2
                                                                                                            y = -0.0022x + 94.67
                                      Arsenic Concentration (mg/l)




3/20/2014       1.2
                                                                      5
6/12/2014       1.0                                                                                              R² = 0.5205
9/24/2014        1
12/22/2014     0.90                                                   4
3/10/2015      0.87
6/3/2015       0.82                                                   3
9/22/2015       1.0
12/9/2016       2.1
3/30/2016       1.0                                                   2

                                                                      1

                                                                      0
                                                                     1/1/2012   5/15/2013    9/27/2014     2/9/2016         6/23/2017
                                                                                               Time
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                                          APPENDIX                          B
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                                          APPENDIX                          C
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   Photo No. 1 View to the south along the eastern site boundary. Abundant cracks and weeds
               in asphalt cap




   Photo No. 2 View to the southwest with north warehouse building and temporary buildings
               in the background

                                                                       PHOTOS NO. 1 & 2
                                                                                                              Wickes Forest Industries
                                                                                                                      Elmira,
   3 1 6 0 G O L D VA L L E Y D R – S U I T E 8 0 0 – R A N C H O C O R D O VA , C A 9 5 7 4 2
                                                                                                                     California
   P H O N E 9 1 6 . 8 5 2 . 9 11 8 – FA X 9 1 6 . 8 5 2 . 9 1 3 2
                                                                                                 GEOCON Project No. S9850-03-14     November 2016
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   Photo No. 3 View to the southwest of former railroad spur covered with asphalt and former
               process building in the background




   Photo No. 4 View to the south from inside the former process building (site of soil removal action)


                                                                       PHOTOS NO. 3 & 4
                                                                                                              Wickes Forest Industries
                                                                                                                      Elmira,
   3 1 6 0 G O L D VA L L E Y D R – S U I T E 8 0 0 – R A N C H O C O R D O VA , C A 9 5 7 4 2
                                                                                                                     California
   P H O N E 9 1 6 . 8 5 2 . 9 11 8 – FA X 9 1 6 . 8 5 2 . 9 1 3 2
                                                                                                 GEOCON Project No. S9850-03-14     November 2016
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   Photo No. 5 View to the south of dense weeds against the northwest side of the former
               process building




   Photo No. 6 View to the southeast of abundant weeds in a drainage ditch. Monitoring well E-28
               in upper left corner of photo. A Street is in the background

                                                                       PHOTOS NO. 5 & 6
                                                                                                              Wickes Forest Industries
                                                                                                                      Elmira,
   3 1 6 0 G O L D VA L L E Y D R – S U I T E 8 0 0 – R A N C H O C O R D O VA , C A 9 5 7 4 2
                                                                                                                     California
   P H O N E 9 1 6 . 8 5 2 . 9 11 8 – FA X 9 1 6 . 8 5 2 . 9 1 3 2
                                                                                                 GEOCON Project No. S9850-03-14     November 2016
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   Photo No. 7 View to the northwest of a drainage ditch along the southwestern site boundary
               and the former process building




   Photo No. 8 View to the northeast of a surface drain inlet with settlement and cracks in the asphalt.
               The north warehouse is in the background

                                                                       PHOTOS NO. 7 & 8
                                                                                                              Wickes Forest Industries
                                                                                                                      Elmira,
   3 1 6 0 G O L D VA L L E Y D R – S U I T E 8 0 0 – R A N C H O C O R D O VA , C A 9 5 7 4 2
                                                                                                                     California
   P H O N E 9 1 6 . 8 5 2 . 9 11 8 – FA X 9 1 6 . 8 5 2 . 9 1 3 2
                                                                                                 GEOCON Project No. S9850-03-14     November 2016
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   Photo No. 9 View to the northeast of asphalt cracking up to 3/4" wide. The north warehouse
               is in the background




   Photo No. 10 View to the northwest of the first of two temporary buildings supported by screw-jacks.


                                                                     PHOTOS NO. 9 & 10
                                                                                                              Wickes Forest Industries
                                                                                                                      Elmira,
   3 1 6 0 G O L D VA L L E Y D R – S U I T E 8 0 0 – R A N C H O C O R D O VA , C A 9 5 7 4 2
                                                                                                                     California
   P H O N E 9 1 6 . 8 5 2 . 9 11 8 – FA X 9 1 6 . 8 5 2 . 9 1 3 2
                                                                                                 GEOCON Project No. S9850-03-14     November 2016
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   Photo No. 11 View to the south of the second of two temporary building supported by screw-jacks




   Photo No. 12 View to the northeast along A Street. The Site is behind the tall shrubs in the
                left side of the photo

                                                                   PHOTOS NO. 11 & 12
                                                                                                              Wickes Forest Industries
                                                                                                                      Elmira,
   3 1 6 0 G O L D VA L L E Y D R – S U I T E 8 0 0 – R A N C H O C O R D O VA , C A 9 5 7 4 2
                                                                                                                     California
   P H O N E 9 1 6 . 8 5 2 . 9 11 8 – FA X 9 1 6 . 8 5 2 . 9 1 3 2
                                                                                                 GEOCON Project No. S9850-03-14     November 2016
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   Photo No. 13 View to the southwest toward the eastern site boundary (approximately the fenceline)




   Photo No. 14 View to the southwest along the northwestern site boundary and adjacent
                Union Pacific Railroad tracks

                                                                   PHOTOS NO. 13 & 14
                                                                                                              Wickes Forest Industries
                                                                                                                      Elmira,
   3 1 6 0 G O L D VA L L E Y D R – S U I T E 8 0 0 – R A N C H O C O R D O VA , C A 9 5 7 4 2
                                                                                                                     California
   P H O N E 9 1 6 . 8 5 2 . 9 11 8 – FA X 9 1 6 . 8 5 2 . 9 1 3 2
                                                                                                 GEOCON Project No. S9850-03-14     November 2016
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   Photo No. 15 View to the south along the eastern site boundary. Abundant weeds in perimeter
                drainage swales and edge of asphalt cap




   Photo No. 16 View to the northeast along the northwestern site boundary and Union Pacific
                Railroad tracks. Abundant weeds in perimeter drainage swale and edge of
                asphalt cap. The north warehouse is in the background

                                                                   PHOTOS NO. 15 & 16
                                                                                                              Wickes Forest Industries
                                                                                                                      Elmira,
   3 1 6 0 G O L D VA L L E Y D R – S U I T E 8 0 0 – R A N C H O C O R D O VA , C A 9 5 7 4 2
                                                                                                                     California
   P H O N E 9 1 6 . 8 5 2 . 9 11 8 – FA X 9 1 6 . 8 5 2 . 9 1 3 2
                                                                                                 GEOCON Project No. S9850-03-14     November 2016
